        EXPERT REPORT OF HAL PORET IN MATTER OF
           NAIL ALLIANCE, LLC V. POLY-GEL, LLC

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SURVEYS TO ASSESS WHETHER PURCHASERS OF PROFESSIONAL
   NAIL TREATMENT PRODUCTS ARE LIKELY TO CONFUSE
      GELISH POLYGEL NAIL TREATMENT PRODUCTS
   WITH COUNTERCLAIM-PLAINTIFF’S POLYGEL MARK OR
            COUNTER-PLAINTIFF’S PRODUCTS




                                                                PREPARED BY:
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                                                                October 2018




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BACKGROUND AND PURPOSE

Counterclaim Plaintiff (Counter-Plaintiff) alleges that it has used and continues to use
the names or marks (terms I use interchangeably herein for convenience) Poly-Gel and
PolyGel in connection with Counter-Plaintiff’s products. According to Counter-
Plaintiff’s website, Counter-Plaintiff has six product lines/brands, each of which are
marketed to healthcare professionals (or to the art and education markets) and are
described as follows:


   •   NATRAGEL – skincare products for skincare professionals such as
       dermatologists and plastic surgeons
   •   THERMOACTIVE – a medical line of reimbursable brace technology (braces)
   •   FLEXIKOLD – a cold therapy gel pack
   •   NATRACURE – products for injury recovery and chronic pain
   •   GELSMART – gel-based foot and skincare products marketed to healthcare
       professionals
   •   GELPRESS – a gel printing technology for the art and education market


Counterclaim Defendants (Counter-Defendants) are nail products companies which
promote a variety of professional nail products and related products sold to nail
professionals – namely nail salons and nail technicians. Counter-Defendants use the
term POLYGEL in connection with its GELISH brand line of professional nail treatment
products. Examples of the relevant GELISH products are shown here:




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Counter-Plaintiff has alleged that Counter-Defendants’ use of the term POLYGEL in
connection with the GELISH line of professional nail treatment products creates a
likelihood of confusion with respect to Counter-Plaintiff’s POLYGEL marks.


Counsel for Counter-Defendants retained me to design and conduct a survey to assess
the extent to which, if at all, prospective purchasers of Counter-Defendants’
professional nail treatment products that use the term POLYGEL are likely to confuse
such products with Counter-Plaintiff’s POLYGEL mark, including to assess whether
nailcare professionals are even aware of Counter-Plaintiff’s mark or products (since
Counter-Defendants’ prospective customers could not confuse Counter-Defendants’
products with Counter-Plaintiff if they are not even aware of Counter-Plaintiff’s mark
or products). This report details the design, methodology, execution and results of the

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survey I conducted. As discussed in more detail below, the survey showed a 0%
confusion rate and a 0% rate of awareness of Counter-Plaintiff’s POLYGEL mark among
nailcare professionals. Accordingly, the survey demonstrates that nailcare professionals
are not likely to be confused by Counter-Defendants’ GELISH products that use the
term POLYGEL, as such nailcare professionals do not associate the term POLYGEL with
Counter-Plaintiff or any of Counter-Plaintiff’s products and would not make any
mistaken mental connection to Counter-Plaintiff’s use of the mark POLYGEL.


In the course of designing my surveys and preparing this report, I reviewed the
following materials: (1) First Amended Complaint; (2) proposed Second Amended
Complaint and Exhibits; (3) Answer to First Amended Complaint, Affirmative Defenses
and Counterclaim; (4) Polygel.com website; (5) Gelish.com website; (6) natracure.com
website; (7) natragel.com website; (8) thermoactive.com website; (9) gelmart.com
website; and (10) gelpress.com website. I also conducted numerous online searches for
professional nail treatment products generally and Counter-Defendants’ Gelish
products specifically and examined the results.


The fee charged for the survey and this report is $50,000. Any additional work in
connection with this matter is being charged at my standard rate of $675 per hour.
Payment is not contingent upon the nature of my opinions or the outcome of any
proceeding.




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STUDY AUTHORSHIP AND QUALIFICATIONS

This study was designed, supervised, and implemented by Hal L. Poret, President at
Hal Poret, LLC.


I have personally designed, supervised, and implemented over 1,000 surveys regarding
the perceptions and opinions of consumers. Over 300 have involved consumer
perception with respect to trademarks, and over 500 have been conducted online. I
have personally designed numerous studies that have been admitted as evidence in
legal proceedings and I have been accepted as an expert in survey research on
numerous occasions by U.S. District Courts, the Trademark Trial and Appeal Board,
and the National Advertising Division of the Council of Better Business Bureaus (NAD).


I am a member of the American Association of Public Opinion Research, publisher of
Public Opinion Quarterly and the Journal of Survey Statistics and Methodology; the
International Trademark Association; and the National Advertising Division of the
Council of Better Business Bureaus (NAD). I routinely conduct market research surveys
for a variety of small to large corporations and organizations.


I have frequently spoken at major intellectual property and legal conferences on the
topic of how to design and conduct surveys that meet legal evidentiary standards for
reliability, including conferences held by the International Trademark Association
(INTA), American Intellectual Property Law Association, Practicing Law Institute,
Managing Intellectual Property, Promotions Marketing Association, American
Conference Institute, and various bar organizations.


In addition to my survey research experience, I hold bachelors and masters degrees in
mathematics and a J.D. from Harvard Law School. Additional biographical material,
including lists of testimony and publications, is provided in Appendix A.

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STUDY DESIGN


A total of 200 respondents participated in this online survey among prospective
purchasers of professional nail treatment products – namely nail salon
owners/managers/employees, nail technicians, and others who work in a business that
does nail treatments.1


The survey followed a highly standard and well-accepted survey format in which the
allegedly confusing products (Counter-Defendants’ Gelish Polygel products) are shown
to prospective purchasers, and respondents are questioned to determine if they make a
mistaken mental connection to the senior mark/products on their own. Such a format
is the ideal method for assessing likelihood of confusion in scenarios where the parties’
products are not directly competing, substantially overlapping, or otherwise
significantly proximate in the marketplace. While Counter-Plaintiff alleges in its
counterclaims that the parties’ products appear together in the marketplace,2 it is
apparent that the parties’ products are different types of products that are sold to
different customer bases through primarily different channels. Counter-Defendants’
products are nail treatment products that are marketed to nailcare professionals
through nailcare industry distributors and related channels. Counter-Plaintiff’s
products, on the other hand, are mostly healthcare products for healing or recovery
from injury or pain that are marketed to healthcare professionals, or printing products


1 See the Sampling section of this report for more information regarding who qualified for and
completed the survey.
2 Counter-Plaintiff’s claim that the products appear in proximity in the marketplace appears to

be based solely on the alleged prospect of encountering both parties if searching for the term
“Polygel” within a particular category on a site such as Amazon. The mere presence of both
parties’ products online does not on its own make the products “proximate” in any meaningful
sense, if they are not competing or substantially overlapping products and are typically
promoted to different consumers through different industry channels. See Jerre Swann,
Eveready and Squirt – Cognitively Updated, 106 TMR 727 at 743 (2016) (Surveys where both
parties’ marks are shown in close proximity are only appropriate if the parties’ marks would be
encountered in close proximity in the actual marketplace with “appreciable frequency.”).

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marketed to the education and art markets. Accordingly, nail care professionals who
are considering purchase of Counter-Defendants’ Gelish Polygel products would not be
likely to also encounter or consider Counter-Plaintiff’s products or mark in close
proximity with Counter-Defendants’ products, and a survey that showed both the
Counter-Defendants’ and Counter-Plaintiff’s products in close proximity in connection
with a purchase situation would be overly artificial and inappropriate. To simulate
whether a nail care professional would be confused by Counter-Defendants’ nail
treatment products, showing only the challenged Gelish Polygel products without also
simultaneously showing Counter-Plaintiff’s products is a far more realistic and superior
replication of marketplace conditions.


As this was an online survey, all the instructions and questions were displayed on
respondents’ computer screens and each question appeared on its own screen.


After a series of initial screening questions, all respondents were prompted:


       On the next screen we are going to show you an image of a set of nail treatment
       products. Please take your time to review the products. The continue button
       will not be enabled until 15 seconds have passed to ensure that you have enough
       time to look at the image.

       When you have finished, you will be asked some questions. For any question, if
       you have no opinion or do not know then please indicate so. Please do not
       guess.


On a new screen, respondents were then instructed to view the set of nail treatment
products:3


       Please take your time to review this image of nail treatment products.

3The image below has been reduced in size to appear in this report. In the programmed
survey, this image appeared large across respondents’ screens. Screenshots of how the survey
appeared to respondents are provided in Appendix C and the original image used for
programing the survey is provided in Appendix E.

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This image gave respondents the opportunity to see four instances of the allegedly
infringing term POLYGEL as it is presented on actual Gelish products and packaging.


After fifteen seconds elapsed, the following instruction appeared beneath the image:




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      Before continuing with the survey, please indicate whether or not you have
      viewed the image clearly.

      •     I viewed the image clearly
      •     I am unable to view the image clearly


Respondents viewed the image for a minimum of fifteen seconds and confirmed they
viewed the image clearly before continuing with the survey. This is a standard quality
assurance procedure to ensure respondents successfully viewed the products and
marks at issue for an amount of time that allows them to meaningfully participate in the
survey.


Upon continuing, respondents were asked:


      What company or brand do you think makes or puts out the products you were
      just shown, if you have an opinion?

      If you are thinking of more than one company or brand, you may enter answers in
      separate boxes below. If you don’t know or have no opinion, you may select that option.


Respondents could type in up to three different answers or select “Don’t know/no
opinion.”


Next, all respondents were asked:


      Do you think that the products you were just shown are sponsored or approved
      by, or affiliated with, any other company or brand?

      •     Yes, I do
      •     No, I do not
      •     Don’t know/No opinion


Respondents who answered, yes, were then asked:



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      You answered that you think that the products you were just shown are
      sponsored or approved by, or affiliated with, another company or brand.

      What other company or brand?

      If you are thinking of more than one company or brand, please enter each one in a
      separate box below.


Respondents could type in up to five different answers or select “Don’t know.”


Respondents who typed in at least one company or brand were then instructed:


      Each company or brand you named is listed below. For each one, please explain
      what makes you think that the products you were just shown are sponsored or
      approved by, or affiliated with, that company or brand.

      Please be as specific and detailed as possible.


Beneath this instruction, respondents were shown the answers they provided in
response to the previous question and next to each answer, they explained what makes
them think the products they were shown are sponsored or approved by, or affiliated
with, the company or brand they named.


Next, all respondents were asked:


      Are you aware of any other products or brands that you think are made or put
      out by the same company as the products we showed you?

      •   Yes, I am
      •   No, I am not
      •   Don’t know/No opinion


Respondents who answered, yes, were then asked:




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      You answered that you are aware of other products or brands that you think are
      made or put out by the same company as the products we showed you.

      What other products or brands?

      If you are thinking of more than one, please enter each one in a separate box below.


Respondents could type in up to five different answers or select “Don’t know.”


Finally, respondents were asked an additional question to determine whether they are
even aware of any other products (besides the Gelish products shown in the survey)
that use the term PolyGel – in particular whether they connect the term PolyGel to any
of Counter-Plaintiff’s products. First, respondents were asked:


      Are you aware of any other products that use the term PolyGel?


Respondents who answered affirmatively were then instructed:


      Using the boxes below, please describe any other products that you are aware of
      that use the term PolyGel.


      Please be as specific and detailed as possible and identify what type of product you are
      thinking of.


This concluded the survey for all respondents.


Contemplation of a Control Group


A Control Group was initially contemplated for this survey. However, I ultimately
determined that there was no reason to run a Control Group. The purpose of a Control
Group would have been to determine to what extent any potential confusion shown in
a Test Group should be dismissed or discounted as survey noise – i.e., guessing or

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otherwise providing answers for reasons unrelated to trademark similarity. A Control
Group would measure the noise level in the survey. This “noise level” would then be
deducted from the Test Group’s result to arrive at a net level of confusion that can be
attributed specifically to the trade dress at issue. However, given that the Test Group
showed zero confusion, there was no reason to run a Control Group, which can only
result in lowering the net confusion level in the survey. The resulting confusion rate of
0% shows a lack of confusion even without taking any potential noise into
consideration.


Screenshots of the survey will be provided in Appendix C.




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SUMMARY OF KEY FINDINGS


This section details certain key survey findings. Other survey results are discussed
further in the Detailed Findings section below.


No respondents confused Counter-Defendants’ Gelish PolyGel products with Counter-
Plaintiff or its products in response to any questions.


No respondents indicated awareness of the use of the term PolyGel in connection with
any products of Counter-Plaintiff.


Based on the survey results, it is my opinion that there is no likelihood of confusion
among purchasers of professional nail treatment products regarding the source of the
Gelish PolyGel products and that there is no awareness of any use of the term PolyGel
in connection with Counter-Plaintiff’s products among purchasers of professional nail
treatment products.


See Detailed Findings section below for additional information on results. The full data
will be provided in its original electronic form in Appendix D.




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METHODOLOGY

THE RELEVANT UNIVERSE OF INTEREST


The appropriate sample universe for this survey consisted of individuals who work at
businesses that do nail treatments. Most members of the sample universe also met
additional criteria specified below, including that they have personal involvement in
the selection of nail treatment products to purchase.


First, after initial demographic questions, including confirmation that respondents are
female, all potential respondents were asked:


      Which of the following types of products, if any, have you personally purchased
      in the past 6 months, either for yourself or for use in your work?
      (Select all that apply or “none of these.”)


The following table displays the list of randomized options available from which
respondent could select and the proportion of final respondent who selected each:


     Products Purchased Past 6 Months
     Base N=200                                               N             %
     Nail treatment product                                  172          86.0%
     Facial treatment product                                153          76.5%
     Hair coloring product                                   111          55.5%
     Teeth whitening product                                 108          54.0%
     None of these                                            6            3.0%


Next, all respondents were asked:


      Which of the following types of products, if any, are you likely to personally
      purchase in the next 6 months, either for yourself or for use in your work?
      (Select all that apply or “none of these.”)




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The following table displays the list of randomized options available from which
respondent could select and the proportion of final respondent who selected each:


     Products Likely to Purchase in Next 6 Months
     Base N=200                                                N            %
     Nail treatment product                                   174         87.0%
     Facial treatment product                                 155         77.5%
     Teeth whitening product                                  122         61.0%
     Hair coloring product                                    119         59.5%
     None of these                                             5           2.5%


All but 2 respondents selected “nail treatment product” in response to at least one of
these two questions. While this was not a requirement for participation in the survey, it
shows that virtually all respondents have recently purchased or are likely to purchase
nail treatment products.


Next, all respondents were asked:


      Do you personally work at a business that does any of the following…?
      (Select all that apply or “none of these.”)

     Hair coloring treatments
     Nail treatments
     Facial treatments
     Teeth whitening treatments
     None of these

Only respondents who selected “nail treatments” were permitted to continue with the
survey. All others were terminated.


Before continuing to the main survey, all respondents were asked additional questions
for classification purposes. First, respondents were asked:




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       Which of the following describes the place(s) where you work that does nail
       treatments?

       (Select all that apply)


The following table displays the list of randomized options available from which
respondent could select and the proportion of final respondent who selected each:4


      Place of Work
      Base N=200                                                  N             %
      Nail salon or spa                                          151          75.5%
      Full service salon                                          25          12.5%
      Hair salon                                                  23          11.5%
      Day spa                                                     19           9.5%
      Beauty Institute or cosmetology school                      12           6.0%

Next, all respondents were asked:
       Which of the following best describes your job position?
       (Select one response)


The following table displays the list of randomized options available from which
respondent could select and the proportion of final respondent who selected each:


      Job Position
      Base N=200                                                 N              %
      Freelance or independent nail technician                   68           34.0%
      Employee of salon/spa                                      64           32.0%
      Owner of salon/spa                                         45           22.5%
      Manager of salon/spa                                       22           11.0%
      Other (please specify)5                                    1             0.5%

Since the confusion rate was 0% among individuals from various types of businesses
that do nail treatments and among individuals with various positions, the precise
distribution of interviews across type of business and job position was not material to


4 The figures in this table add to greater than 100% because some respondents work in more
than one type of business that does nail treatments.
5 The one respondent who selected “other” entered “facilitator.”


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the results. The results could be re-weighted in any proportions and the confusion
result would still be 0%.


Respondents were then asked:


       Which of the following do you personally do in connection with any business
       that does nail treatments?
       (Select all that apply)


The following table displays the list of randomized options available from which
respondent could select and the proportion of final respondent who selected each:


     Performed in Connection with Nail Treatment Business
     Base N=200                                           N                 %
     Select which nail treatment products to purchase    192              96.0%
     Nail treatments for clients                         172              86.0%
     Run or manage the business                           69              34.5%
     Front desk services/reception                        62              31.0%
     Other (please specify)                               0                0.0%


As the above table shows, nearly all respondents (192 of 200) indicated that they are
personally involved in selecting which nail treatment products to purchase, which
confirms they are prospective purchasers of the relevant Gelish Polygel products. If the
8 respondents who did not indicate that they are involved in product
selection/purchase were excluded from the data, it would have no meaningful impact
on the survey results or my conclusions.


Next, these respondents were asked:




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         Which of the following best describes the ethnicity of the owner of the business
         where you work?
         (Select one response)

The following table displays the list of randomized options available from which
respondent could select and the proportion of final respondent who selected each:


     Ethnicity of Business Owner
     Base N=200                                                 N             %
     White/Caucasian                                            95          47.5%
     Vietnamese                                                 49          24.5%
     Korean                                                     25          12.5%
     Chinese                                                    4            2.0%
     Other Asian                                                8            4.0%
     Other (please specify)                                     17           8.5%
     Prefer not to answer                                       2            0.0%


Since the confusion rate was 0% regardless of ethnicity of business owner, the precise
distribution of interviews by ethnicity was not material to the results. The results could
be re-weighted in any proportions and the confusion result would still be 0%.


This concluded the screening and classification questions for all respondents.


The actual wording of the screening questions used is shown in Appendix B.


SAMPLING PLAN
The sampling plan involved a random selection of individuals who are part of an online
panel.


Online surveys are well-accepted in the field of survey research as a standard, reliable
methodology. Indeed, online surveys are now the most common method of conducting
market research among consumers. Businesses and other organizations routinely make
decisions of importance based on the results of online survey research among


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consumers and professionals, and online surveys have been accepted in evidence in
numerous U.S. District Court cases. I have personally designed and executed numerous
internet surveys that have been accepted by courts.


The sample of panelists used in the survey was provided by Research Now, a leading
supplier of online sample for surveys. I have worked with Research Now on many
surveys and have found its procedures and panels to be highly reliable. Research Now
has a large and diverse panel consisting of millions of Americans and is highly
regarded as a reputable source of respondents for online surveys within the field of
market research. Research Now utilizes appropriate industry procedures for ensuring
the integrity and quality of its panels. Research Now employs a “by-invitation-only”
panel recruitment model to enroll pre-validated individuals and, therefore, maintains a
panel comprised of the most credible survey takers who are less prone to self-selection
bias. Quality and integrity of its research panel is also obtained and maintained in the
following ways.
   •   It requires a double opt-in and agreement to provide truthful and well-
       considered answers to online market research surveys. First, potential panelists
       opt-in during the enrollment process, and then they are sent a follow-up email
       confirmation that requests the potential panelist to click a link to validate the opt-
       in. Then, he or she is sent a follow-up email providing access to their member
       account and they can begin receiving surveys.
   •   A unique email address is required to opt-in to the panel and physical addresses
       provided by panelists in the US are verified against government postal
       information.
   •   Research Now implements data quality measures by focusing on identifying and
       pursuing panelists who exhibit suspicious behaviors. This is done by identifying
       members through routine review of behaviors and sometimes with the help of its
       clients, and then evaluating a wider set of behaviors, particularly members
       profile information and survey performance.

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   •    Research Now also employs a “Three Strikes Policy” in which panelists who
        commit survey offenses, such as speeding, inattentiveness, poor quality open
        ends, answering inconsistencies, and selecting dummy answers, are flagged with
        an “offense” code. Panelists who are flagged three times for such offenses are
        disqualified from panel membership and future surveys.


Using data that had previously been collected (completely unrelated to this survey),
Research Now was able to pre-identify members of its panel who had indicated that
they work in nail salons or hair or other beauty salons.


Invitations were then sent targeting those pre-identified panelists. The purpose of the
survey was withheld from respondents and nothing in the invitation to panelists
indicated that they received the invitation because they work at a business that may do
nail treatments.


Without knowing the purpose of the survey, respondents needed to meet the screening
criteria to qualify for the survey. In doing so, they confirmed that they indeed are part
of the Relevant Sample Universe.


The following table displays the final proportion of sample achieved by age:


Final Number of Respondents by Age
N=200                                            N                         %
18 – 34                                          44                      22.0%
35 – 54                                         126                      63.0%
55 and older                                     30                      15.0%




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These percentages match those reported in the Nails Magazine Big Book for 2017-2018.6


All respondents completing the survey were females.


The following table displays the final proportion of sample achieved by U.S. region:


Final Number of Respondents by Region
N=200                                            N                       %
Midwest                                          39                    19.5%
Northeast                                        50                    25.0%
South                                            30                    15.0%
West                                             39                    19.5%
Southeast                                        42                    21.0%


Since the confusion rate was 0% among respondents from all age groups and all
geographic regions, the precise distribution of interviews across these demographics
was not material to the results. The results could be re-weighted in any proportions
and the confusion result would still be 0%.


DATA PROCESSING
Data was collected by Focus Vision and made available to Hal Poret, LLC through an
electronic portal on an ongoing basis. The data set showing respondents’ answers to all
questions will be provided in electronic form.


INTERVIEWING PROCEDURES
The online survey was programmed and hosted by Focus Vision, a company
specializing in web survey programming and data collection and processing. My staff



6   See CCE08292018_000-c

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and I thoroughly tested the programmed survey prior to any potential respondents
receiving the invitation to participate in the survey.


DOUBLE-BLIND INTERVIEWING
The study was administered under “double-blind” conditions. That is, not only were
the respondents kept uninformed as to the purpose and sponsorship of the study, but
the services involved in providing the sample and administering the online interviews
(Focus Vision and Research Now) were similarly “blind” with respect to the study’s
purpose and sponsorship.


INTERVIEWING PERIOD
Interviewing was conducted from September 11, 2018 through September 24, 2018.


QUALITY CONTROL
Several measures were implemented to ensure a high level of quality control and
validation with respect to respondents taking the survey.


Upon initially entering the survey, all respondents were required to pass a test to verify
that each respondent is a live person. The test employed in this survey is a CAPTCHA7
program that generates a task that humans can pass but current computer programs
cannot. CAPTCHA is a well-known and widely-used tool in online survey research.


Upon successfully passing the CAPTCHA test, respondents were then asked to enter
their year of birth and then their gender. This information was checked against the
sample provider’s (Research Now’s) demographics on record for each respondent and
any respondent providing an incorrect or inconsistent birth year and/or gender was
unable to continue to the main survey.


7CAPTCHA is an acronym for “Completely Automated Public Turing test to tell computers
and Humans Apart.”

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Additionally, respondents were then asked to select their age range. Respondents who
selected an age range inconsistent with their year of birth were unable to continue with
the survey.


These combined steps ensured that the survey was being taken by an actual live person
and that each person was paying a certain level of attention to the survey questions and
taking a certain level of care in entering responses.


All respondents were also asked to select any web browsers or search engines they have
used in the past three months. Respondents could select as many as applied to them
from a list of ten options, including, “other,” “not sure” and one fictitious name:
Hagelin. Respondents who selected “Hagelin” were unable to continue. Additionally,
respondents who answered that they have used all seven of the actual web browsers
and search engines included on the response list, were identified as “yea-sayers” and
unable to continue with the survey.8


The following question was also asked and permitted additional screening out of
respondents who were paying insufficient attention or clicking responses
indiscriminately:


       For quality assurance, please type the word "west" in the blank next to the
       "Other" box below and then click to continue.

              •     Strongly agree
              •     Agree
              •     Neutral
              •     Disagree
              •     Strongly disagree
              •     Other ________


8“Yea-sayers” in surveys are typically defined as respondents who answer affirmatively to
questions, regardless of their belief.

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Respondents who selected “other” and typed a response in the blank continued with
the survey. A review was conducted of all open-ended answers, including responses to
this question and respondents who failed to follow instructions for this question, or
gave other non-responsive or nonsense answers to open-ended questions were removed
from the final data.


Respondents were then also asked to carefully read these instructions:


       •   Please take the survey in one session without interruption.
       •   Please keep your browser maximized for the entire survey.
       •   While taking the survey, please do not consult any other websites or other
           electronic or written materials.
       •   Please answer all questions on your own without consulting any other
           person.
       •   If you normally wear eye glasses or contact lenses when viewing a computer
           screen, please wear them for the survey.


Two options were provided in response to these instructions: 1) I understand and agree
to the above instructions, and 2) I do not understand or do not agree to the above
instructions. Only respondents who understood and agreed to the instructions then
continued to the main section of the survey.


Additionally, the survey program was set up in such a way as to restrict respondents
from taking the survey via mobile phones. This contributed to ensuring respondents
could easily and clearly view all questions, response options and concepts displayed in
the survey.




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DETAILED FINDINGS


Question 300 – What company or brand makes or puts out the products shown


Respondents were first asked what company or brand makes or puts out the products
they were shown (the Gelish PolyGel products). The following table shows the
companies or brands that were named in response to this question by more than one
respondent:


     Question 300 – Company or brand
     Base N=200                                              N            %
     Gelish                                                  57         28.5%
     Polygel                                                 20         10.0%
     Sally Hansen                                            16          8.0%
     OPI                                                     16          8.0%
     Essie/L’oreal                                           10          5.0%
     CND                                                     4           2.0%
     Orly                                                    2           1.0%


The answers of the 20 respondents who named Polygel were examined to determine if
there was any reasonable possibility that such respondents were referring to Counter-
Plaintiff or its PolyGel mark. As discussed below, all such respondents were
subsequently asked whether they are aware of any other products that they think are
made or put out by the same company as the products they were shown. Accordingly,
respondents who named Polygel in the first question and were thinking of Counter-
Plaintiff would have then named the types of products or the brands offered by
Counter-Plaintiff. Of the 20 respondents who named Polygel, 19 answered that they are
not aware of any other products that come from the same company or that they don’t
know. The lone respondent who answered that they are aware of other products from
the same company named “nail treatment” and “nail polish” and “nail care kit” as the




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other products, making clear that she was not thinking of Counter-Plaintiff when she
named Polygel.


All 20 respondents who named PolyGel were also asked if they are aware of any other
products that use the term PolyGel. Only 2 of these 20 respondents answered
affirmatively. One of these two respondents named “Saviland polygel” and the other
named “Polygel nail kits.” Clearly these answers are not references to products from
Counter-Plaintiff.


Accordingly, it is clear that the 20 respondents who initially named “Polygel” when
asked about the company or brand that makes or puts out the Gelish products were not
thinking of Counter-Plaintiff. To the contrary, these respondents who were not
thinking of Counter-Plaintiff and who identified the name they saw on the product
shown in the survey (Polygel) were correct about the product brand.


Questions 310/315 – Are the products sponsored or approved by or affiliated with any
other company or brand


Respondents were next asked whether they think the products they were shown (the
Gelish PolyGel products) are sponsored or approved by or affiliated with any other
company or brand. A total of 43 respondents (21.5%) answered affirmatively.


The following table shows the brands that were named by respondents in the follow-up
question:


     Question 315 – Company or brand
     Base N=200                                              N            %
     Sally Hansen                                            10          5.0%
     OPI                                                     8           4.0%
     Gelish                                                  6           3.0%


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     Essie/L’oreal                                           5           2.5%
     Knockoff of Gelish                                      1           0.5%
     Trugel                                                  1           0.5%
     China Glaze                                             1           0.5%
     Revlon                                                  1           0.5%


As the above tables shows, no respondents named Polygel or any other brands owned
by Counter-Plaintiff.


Questions 330/335 – Other products from the same company or brand


Respondents were next asked whether they are aware of any other products that they
think are made or put out by the same company as the products they were shown (the
Gelish Polygel products). A total of 23 respondents (11.5%) answered affirmatively.


The following table shows all other products named by these respondents:


Resp
ID       Other products named
    11   gel nail polish
    18   Nail Polish
    42   Other Gelish products
    46   NAILPOLISH
         Gelish
    54   polishes      SALLY HANSEN
         Gelish
    55   Polish        Gelish Polygel
         gel top       gel         gel   ph        led
   101   coat          foundation polish bond      lamp
   171   nail polish dip powder
   172   Gel Polish
   182   OPI           Loreal
   205   Gelish nail polish
         Nail
   241   Polish        Ulta
   248   gel polish sns polish curing light

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   272 Curing lamps
   293 sally hansen gel
       nail
   409 treatment nail polish       nail care kit


As the above table shows, none of these respondents identified any product or type of
product offered by Counter-Plaintiff.


Questions 350/360 – Other products that use the term PolyGel


Respondents were next asked if they are aware of any other products that use the term
PolyGel. A total of 17 respondents (8.5%) answered affirmatively.


The following table shows all other products named by these respondents:


Resp
ID       Other products named
    37   I have seen foreign ripoffs of Gelish
    89   Other gelish polishes
   151   Trugel
   177   sally hansen
   196   IBD Just Gel is closest
   205   Madam Glam PolyGel
   221   Saviland polygel
   247   IBD gelpolish
   272   Gelish on amazon.com
   285   Get Gelish Polygel on ebay and groupon
   311   Chinese copies of Gelish polish
   330   Dental products
   340   Polygel nail kits
   359   Gelish knockoffs are all over the place
   372   Saviland makes the same
   392   Polishes
   489   makartt




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As the above table shows, none of the other products named refer to products of
Counter-Plaintiff.


Conclusion


Across all survey questions, no respondents gave any answers mistakenly connecting
the Gelish Polygel products to Counter-Plaintiff or any of its products/brands.
Likewise, no respondents had any awareness of any use of the term Polygel in
connection with any of Counter-Plaintiff’s products.


Based on the survey results, it is my opinion that there is no likelihood of confusion
among purchasers of professional nail treatment products regarding the source of the
Gelish PolyGel products and that there is no awareness of any use of the term PolyGel
in connection with Counter-Plaintiff’s products among purchasers of professional nail
treatment products.




                                   Dated: October 10, 2018




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              APPENDIX A




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Hal L. Poret (hal.inc42@gmail.com; 914-772-5087)

Education
1998           Harvard Law School, J.D., cum laude
               • Editor/Writer – Harvard Law Record
               • Research Assistant to Professor Martha Minow
1995           S.U.N.Y. Albany, M.A. in Mathematics, summa cum laude
               • Statistics
               • Taught calculus/precalculus/statistics
1993           Union College, B.S. in Mathematics with honors, magna cum laude
               • Phi Beta Kappa
               • Resch Award for Achievement in Mathematical Research


Employment
2016 -         President, Hal Poret LLC
               • Design, supervise, and analyze consumer surveys, including
                  Trademark, Trade Dress, Advertising Perception, Consumer
                  Deception, Claims Substantiation studies, Damages, and Corporate
                  Market Research Surveys
               • Consulting regarding survey design and review of other surveys
               • Provided expert testimony at deposition and/or trial regarding survey
                  research in over 100 U.S. District Court litigations and proceedings in
                  front of TTAB, NAD, FTC and FCC.

2004 - 2015 Senior Vice President, ORC International
            • Designed, supervised, and analyzed consumer surveys in legal and
               corporate market research areas, and provided expert testimony
               regarding survey research in legal cases.

2003 – 2004 Internet Sports Advantage
            • Developed and marketed proprietary internet sports product, and
                licensed trademark and intellectual property rights.

1998 – 2003 Attorney, Foley Hoag & Eliot, Boston, MA
            • Represented corporations and individuals in trademark, trade dress,
               advertising, product, and related legal disputes.
            • Worked with survey experts in developing and using surveys as
               evidence in trademark, trade dress and advertising disputes.




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Testimony at Trial or by Deposition Past 4 Years

(Party who retained me shown in bold)

2018   In re: NCAA Grant-in-Aid Cap Litigation
       (Deposition; Trial)                   USDC Northern District of CA

2018   Under Armour v. Battle
       (Deposition)                           USDC District of Maryland

2018   Federal Trade Commission v. D-Link Systems
       (Deposition)                         USDC Northern District of CA

2018   Ezaki Glico v. Lotte International
       (Deposition)                           USDC District of NJ

2018   Car Freshener Corporation v. American Covers/Energizer Holdings
       (Deposition)                          USDC Northern District of NY

2018   Combe v. Dr. August Wolff
       (Deposition)                           USDC Eastern District of VA

2018   In Re GM Ignition Switch Litigation
       (Deposition)                           USDC Southern District of NY

2018   Zetor v. Ridgeway
       (Trial Testimony Deposition)           USDC Western District of AR

2018   Superior Consulting v. Shaklee
       (Deposition; Hearing; Trial)           USDC Middle District of FL

2018   Monster Energy Company v. Integrated Supply Network
       (Deposition)                         USDC Central District of CA

2018   Sandoz v. GlaxoSmithkline
       (Deposition)                           USPTO Opposition

2018   JB-Weld v. Gorilla Glue Company
       (Deposition)                           USDC Northern District of GA

2018   Bratton v. The Hershey Company
       (Deposition)                           USDC Western District of MO




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2018   Leadership Studies v. Blanchard Training & Development
       (Deposition)                           USDC Southern District of CA

2017   Gulfstream Aerospace v. Gulfstream Unsinkable Boats
       (Deposition)                         USPTO Opposition/Cancellation

2017   Mercado Latino v. Indio
       (Deposition)                          USDC Central District of CA

2017   Delalat v. Nutiva
       (Deposition)                          USDC Northern District of CA

2017   Dashaw v. New Balance
       (Deposition)                          USDC Southern District of CA

2017   Bearing Tech v. O’Reilly Automotive
       (Deposition)                          USDC Western District of MO

2017   Soundview v. Facebook
       (Deposition)                          USDC District of Delaware

2017   Rovi v. Comcast
       (Deposition)                          USDC Southern District of NY

2017   Puma v. Black & Decker
       (Trial)                               New Mexico Circuit Court

2017   Select Comfort v. Personal Comfort
       (Trial and Deposition)                USDC District of Minn

2017   Alzheimer’s Foundation of America v. Alzheimer’s Association
       (Deposition and trial)               USDC Southern District of NY

2017   Banc of California v. Farmers & Merchants Bank
       (Deposition)                          USDC Central District of CA

2017   PolyGroup v. Willis Electric
       (Deposition)                          Patent Trial and Appeal Board

2017   Mullins v. Premier Nutrition            USDC Northern District of CA
       (Depositions in Class Cert and Merits phases)

2017   Lion’s Gate v. TD Ameritrade



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       (Deposition)                             USDC Central District of CA

2017   Deere & Company v. Fimco dba Schaben
       (Deposition and trial)             USDC Western District of KY

2017   Adidas & Reebok v. TRB
       (Deposition)                             USDC District of Oregon

2017   Church & Dwight v. SPD                    USDC Southern District of NY
       (Deposition/trial in liability phase; deposition/trial in damages phase)

2017   In re: Coca Cola Marketing and Sales Practices Litigation (No. II)
       (Deposition)                            USDC Northern District of CA

2017   Ducks Unlimited v. Boondux LLC and Caleb Sutton
       (Deposition and Trial)              USDC Western District of TN

2017   Globefill v. Element Spirits
       (Deposition and Trial)                   USDC Central District of CA

2017   Brickman v. Fitbit
       (Deposition)                             USDC Northern District of CA

2017   Network-1 Technologies v. Alcatel-Lucent et al.
       (Deposition)                          USDC Eastern District of TX

2017   Health Partner Plans v. Reading Health Partners
       (Deposition and Injunction hearing)    USDC Eastern District of PA

2017   In Re Biogen ‘755 Patent Litigation
       (Deposition)                             USDC District of NJ

2017   Cava Mezze v. Mezze Mediterranean Grill
       (Trial)                             USDC District of MD

2017   Mastrandrea v. Vizio
       (Deposition)                             USDC Central District of CA

2017   Adidas v. Skechers
       (Deposition and Injunction hearing)      USDC District of OR

2016   Triumph International, Inc. v. Gourmetgiftbaskets.com, Inc.
       (Deposition)                          USDC Central District of CA



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2016   Phelan Holdings v. Rare Hospitality Management
       (Deposition)                          USDC Middle District of FL

2016   Intellectual Ventures II v. AT&T Mobility
       (Deposition)                           USDC District of DE

2016   One World Foods v. Stubbs Austin Restaurant Company
       (Deposition)                         USDC Western District of TX

2016   Booking.com B.V. v. Michelle Lee
       (Deposition)                             USDC Eastern District of VA

2016   Variety Stores v. Walmart Stores, Inc.
       (Trial)                                  USDC Eastern District of NC

2016   American Cruise Lines v. American Queen Steamboat Company
       (Deposition)                        USDC District of DE

2016   Universal Church v. Univ. Life Church
       (Deposition)                          USDC Southern District of NY

2016   U. of Houston v. Houston Col. of Law
       (Deposition)                             USDC Southern District of TX

2016   Navajo Nation v. Urban Outfitters
       (Daubert Hearing)                        USDC District of NM

2016   Beaulieu v. Mohawk Carpet Dist.
       (Deposition)                             USDC Northern District of GA

2016   Efficient Frontiers v. Reserve Media
       (Deposition)                             USDC Central District of CA

2016   McAirlaids v. Medline Industries
       (Deposition)                             USDC Eastern District of VA

2016   Under Armour v. Ass Armor
       (Deposition)                             USDC Southern District of FL

2016   C5 & CoorsTek v. CeramTec
       (Deposition and trial)                   USDC District of Colorado




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2016   BBC v. Stander
       (Deposition)                         USDC Central District of CA

2016   Caterpillar v. Tigercat
       (Deposition)                         USPTO Opposition

2016   Premier v. Dish Network
       (Deposition)                         USPTO Opposition

2016   Omaha Steaks v. Greater Omaha
       (Rebuttal Testimony)                 USPTO Opposition

2016   EMC v. Pure Storage
       (Deposition)                         USDC District of MA

2016   Top Tobacco v. North Atlantic
       (Deposition)                         USPTO Opposition

2016   Ascension Health v. Ascension Ins.
       (Deposition)                         USDC Eastern District of MO

2016   Quoc Viet v. VV Foods
       (Deposition and trial)               USDC Central District of CA

2016   Joules v. Macy’s Merchandising Group
       (Deposition and trial)               USDC Southern District of NY

2015   MMG v. Heimerl & Lammers
       (Deposition and trial)               USDC District of MN

2015   PRL USA v. Rolex
       (Deposition)                         USDC Southern District of NY

2015   Bison Designs v. Lejon
       (Deposition)                         USDC District of CO

2015   Barrera v. Pharmavite
       (Deposition)                         USDC Central District of CA

2015   Flowers v. Bimbo Bakeries
       (Deposition)                         USDC Middle District of GA

2015   Razor USA v. Vizio



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       (Deposition)                        USDC Central District of CA

2015   Allen v. Simalasan
       (Deposition)                        USDC Southern District of CA

2015   BMG Rights Mgmt. v. Cox Enterprises
       (Deposition and trial)              USDC Eastern District of VA

2015   Verisign v. XYZ.COM LLC
       (Deposition)                        USDC Eastern District of VA

2015   Farmer Boys v. Farm Burger
       (Deposition)                        USDC Central District of CA

2015   Ono v. Head Racquet Sports
       (Deposition)                        USDC Central District of CA

2015   Select Comfort v. Tempur Sealy
       (Deposition)                        USDC District of Minn

2015   ExxonMobil v. FX Networks
       (Deposition)                        USDC Southern District of TX

2015   Delta v. Network Associates
       (Deposition)                        USDC Middle District of FL

2015   Brady v. Grendene
       (Deposition)                        USDC Central District of CA

2015   Zippo v. LOEC
       (Deposition)                        USDC Central District of CA

2015   Maier v. ASOS
       (Deposition)                        USDC District of Maryland

2015   Converse In re: Certain Footwear
       (Deposition and trial)              International Trade Commission

2014   Scholz v. Goudreau
       (Deposition)                        USDC District of Mass

2014   Economy Rent-A-Car v. Economy Car Rentals
       (TTAB Testimony)                   USPTO



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2014   Weber v. Sears
       (Deposition)                             USDC Northern District of IL

2014   Native American Arts v. Stone
       (Deposition)                             USDC Northern District of IL

2014   Gravity Defyer v. Under Armour
       (Trial)                                  USDC Central District of CA

2014   Adams v. Target Corporation
       (Deposition)                             USDC Central District of CA

2014   PODS v. UHAUL
       (Deposition and trial)                   USDC Middle District of FL

2014   Flushing v. Green Dot Bank
       (Deposition)                             USDC Southern District of NY

2014   Amy’s Ice Creams v. Amy’s Kitchen
       (Deposition)                             USDC Western District of TX

2014   Unity Health v. UnityPoint
       (Deposition)                             USDC Western District of WI

2014   In re: NCAA Student-athlete litigation
       (Deposition and Trial)                   USDC Northern District of CA

2014   Spiraledge v. SeaWorld
       (Deposition)                             USDC Southern District of CA

2014   Diageo N.A. v. Mexcor
       (Deposition and trial)                   USDC Southern District of TX

2014   Pam Lab v. Virtus Pharmaceutical
       (Deposition and trial)                   USDC Southern District of FL

2014   US Soccer Federation v. Players Ass’n
       (Arbitration Testimony)               Arbitration

2014   Estate of Marilyn Monroe v. AVELA
       (Deposition)                             USDC Southern District of NY




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2014   Kelly-Brown v. Winfrey, et al.
       (Deposition)                             USDC Southern District of NY

2014   Virco Mfg v. Hertz & Academia
       (Deposition)                             USDC Central District of CA

2014   In re: Hulu Privacy Litigation
       (Deposition)                             USDC Northern District of CA

2013   Jackson Family Wines v. Diageo           USDC Northern District of CA
       (Deposition)

2013   Bubbles, Inc. v. Sibu, LLC.              USDC Eastern District of VA
       (Deposition)

2013   Clorox v. Industrias Dalen               USDC Northern District of CA
       (Deposition)

2013   Active Ride Shop v. Old Navy             USDC Central District of CA
       (Deposition and trial)

2013   Macy’s Inc. v. Strategic Marks LLC.      Northern District of CA
       (Deposition)

2013   Karoun Dairies, Inc. v. Karoun Dairies, Inc.      Southern District of CA
       (Deposition)

2013   Kraft Foods v. Cracker Barrel Old Country         Northern District of IL
       (Deposition and Trial)

2013   Bayer Healthcare v. Sergeants Pet Care USDC Southern District of NY
       (Deposition and Trial)

2013   JJI International v. The Bazar Group, Inc.        USDC District of RI
       (Deposition)

2013   Fage Dairy USA v. General Mills          Northern District of NY
       (Deposition)

2013   Gameshow Network v. Cablevision          F.C.C.
       (Deposition and trial)

2013   Telebrands v. Meyer Marketing            USDC Eastern District of CA



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      (Deposition)



Presentations

What's New in Advertising Law, Claim Support and Self-Regulation?
(ABA Seminar, November 17, 2015)

How Reliable is Your Online Survey
(2015 ASRC Annual Conference, September 29, 2015)

What Do Consumers Think? Using Online Surveys to Demonstrate Implied Claims
(ANA Advertising Law and Public Policy Conference, April 1, 2015)

Cutting Edge Developments in Trademark Surveys (Rocky Mountain Intellectual
Property & Technology Institute, May 30, 2013)

Using Survey Experts in Trademark Litigation (DRI Intellectual Property Seminar, May
9, 2013)

Surveys in Trademark and Advertising Litigation (2013 National CLE Conference,
Snowmass Colorado, January 2013)

Internet Survey Issues (PLI Hot Topics in Advertising Law Conference, March 2012)

Measuring Consumer Confusion Through Online Surveys (2011 Midwest IP Institute)
(September, 2011)

Online Surveys as Evidence in Trademark Disputes (International Trademark
Association Annual Conference, May 2011)

Managing Intellectual Property Trademark Roundtable (April 7, 2010)

Recent Trends in Trademark Surveys (Virginia State Bar Intellectual Property
Conference, October 2009)

Trademark Surveys in US Litigation (presentation for International Trademark
Association Annual Conference) (May 2009)

How to Conduct Surveys for use in Trademark Disputes (Practicing Law Institute
Advanced Trademark Law Conference) (May 2009)




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Trademark and Advertising Perception Studies for Legal Disputes (Opinion Research
Corporation Seminar, June 2008)

Understanding Advertising Perception Surveys (Promotions Marketing Association
Annual Law Conference) (November 2007)

Designing and Implementing Studies to Substantiate Advertising Claims (American
Conference Institute Claims Substantiation Conference, October 2007)

Surveys in Trademark and False Advertising Disputes (InfoUSA Webinar, June 2007)

Measuring Consumer Perception in False Advertising and Trademark Cases, (multiple
presentations) (2007)

Potential Errors to Avoid In Designing a Trademark Dilution Survey (American
Intellectual Property Association paper, April 2007)

Consumer Surveys in Trademark and Advertising Cases (presentation at Promotions
Marketing Association Annual Law Conference) (December 2006)

Use of Survey Research and Expert Testimony in Trademark Litigation, (International
Trademark Association Annual Conference, May 2006)

Survey Research as Evidence in Trademark/Trade Dress Disputes (multiple
presentations) (2006)

Using Surveys to Measure Secondary Meaning of Trade Dress, Legal Education
Seminar, Boston, April 2006


Publications/Papers

Cutting Edge Developments in Trademark Surveys (Rocky Mountain Intellectual
Property & Technology Institute, May 2013)

Hot Topics and Recent Developments in Trademark Surveys (paper for May 2013 DRI
Intellectual Property Conference)

Surveys in Trademark and Advertising Litigation (2013 National CLE Conference,
Snowmass Colorado, January 2013)

Trademark Litigation Online Consumer Surveys (Practical Law Company Intellectual
Property and Technology, May 2012)



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Hot Topics in Advertising Law 2012 (Contributor to Practising Law Institute
publication)

A Comparative Empirical Analysis of Online Versus Mall and Phone Methodologies for
Trademark Surveys, 100 TMR 756 (May-June 2010)

Recent Trends in Trademark Surveys (paper for Virginia State Bar Intellectual Property
conference, October 2009)

Trademark Dilution Revision Act breathes new life into dilution surveys (In Brief PLI
website, June 2009)

The Mark (Survey Newsletter; three editions 2009)

Hot Topics in Trademark Surveys (paper for Practicing Law Institute Advanced
Trademark Law Conference) (May 2009)

The Mark (Survey Newsletter, 2008)

Trademark and Advertising Survey Report (Summer 2007)

Avoiding Pitfalls in Dilution Surveys under TDRA (AIPLA Spring Conference, Boston,
May 2007)


Commentary

Comment on Hotels.com case (on TTABLOG.COM, July 24, 2009)

Comment on Nextel v. Motorola (on TTABLOG.COM, June 19, 2009)

PLI All-Star Briefing Newsletter, “What does the Trademark Dilution Revision Act
mean for the future of Dilution Surveys?” (June 2009)




Professional Memberships/Affiliations

American Association of Public Opinion Research




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International Trademark Association

National Advertising Division of Council of Better Business Bureaus




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               APPENDIX B




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                                              Nail Treatment Questionnaire

SCREENER SECTION

BASE: ALL RESPONDENTS
Q50 Insert Captcha [HIDE “YOU ARE HUMAN” SCREEN]

BASE: ALL RESPONDENTS
Q100 Please select your year of birth. [PROGRAMMER: DROP DOWN
     MENU. TERMINATE IF DOES NOT MATCH PANELIST’S
     PRELOAD.]

ASK IF: HAS NOT TERMINATED
Q105 Are you… [CHECK AGAINST PANEL VARIABLE AND TERMINATE
     IF IT DOES NOT MATCH]
  1. Male [TERM]
  2. Female [PROGRAMMER: FOR PANEL VARIABLE VERIFICATION]

ASK IF: HAS NOT TERMINATED
Q107 Which of these age ranges includes your age?
     [TERMINATE IF UNDER 18 OR IF AGE RANGE NOT POSSIBLE
     BASED ON YEAR OF BIRTH ENTERED IN Q100. NOTE – Each
     respondent can have two possible ages depending on if respondent’s
     birthday has passed.]

         1.   Under 18 [TERMINATE]
         2.   18 to 34 [22%]
         3.   35 to 54 [63%]
         4.   55 or older [15%]




                                                                          1
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                                                       Nail Treatment Questionnaire

BASE: ANY NON-TERMINATES
Q109 Which of the following web browsers and search engines, if any, have you
     used in the past 3 months?

       Please select all that apply.
       [RANDOMIZE]
          1. Google Chrome
          2. Internet Explorer
           3. Microsoft Edge
           4. Bing
           5. Yahoo
           6. Firefox
           7. Opera
           8. Hagelin [TERMINATE]
           9. Other [ANCHOR]
          10. Not sure [ANCHOR; EXCLUSIVE]

[Terminate if selects 109/8, or if selects all of 109/1-7.]


ASK IF: HAS NOT TERMINATED
Q110 In what state do you live?
     [PROGRAMMER: Drop down menu of states plus D.C. Include an
     option for “Other” and terminate if it is selected.]

BASE: ANY NON-TERMINATES
Q115 Which of the following types of products, if any, have you personally
     purchased in the past 6 months, either for yourself or for use in your
     work?
     (Select all that apply or “none of these.”)
     [RANDOMIZE]
         1. Nail treatment product
         2. Hair coloring product
         3. Facial treatment product
         4. Teeth whitening product
         5. No, none of these [ANCHOR; EXCLUSIVE]




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                                                   Nail Treatment Questionnaire

BASE: ANY NON-TERMINATES
Q118 Which of the following types of products, if any, are you likely to
     personally purchase in the next 6 months, either for yourself or for use in
     your work?
     (Select all that apply or “none of these.”)
     [SHOW IN SAME ORDER AS 115]
         1. Nail treatment product
         2. Hair coloring product
         3. Facial treatment product
         4. Teeth whitening product
         5. No, none of these [ANCHOR; EXCLUSIVE]

BASE: ANY NON-TERMINATES
Q120 Do you personally work at a business that does any of the following…?
     (Select all that apply or “none of these.”)
     [SHOW IN SAME ORDER AS CORRESPONDING CHOICES IN 115]
         1. Nail treatments
         2. Hair coloring treatments
         3. Facial treatments
         4. Teeth whitening treatments
         5. No, none of these [ANCHOR; EXCLUSIVE]

[MUST SELECT 120=1 TO CONTINUE]




                                                                                   3
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                                                  Nail Treatment Questionnaire

BASE: 120=1
Q130 Which of the following best describes the place(s) where you work that
     does nail treatments?
     (Select all that apply)
         1. Nail salon or spa
         2. Hair salon
         3. Full service salon
         4. Day spa
         5. Beauty Institute or cosmetology school
         6. Other [Please Specify]

BASE: 120=1
Q140 Which of the following best describes your job position?
     (Select all that apply)
         1. Owner of salon/spa
         2. Manager of salon/spa
         3. Employee of salon/spa
         4. Freelance or independent nail technician
         5. Other [Please Specify]

BASE: 120=1
Q150 Which of the following do you personally do in connection with any
     business that does nail treatments?
     (Select all that apply)
         1. Front desk services/reception
         2. Nail treatments for clients
         3. Run or manage the business
         4. Select which nail treatment products to purchase
         5. Other [Please Specify]

BASE: 120=1
Q155 Which of the following best describes the ethnicity of the owner of the
     business where you work?
     (Select one response)
         1. Vietnamese
         2. Korean
         3. Chinese
         4. Other Asian
         5. White/Caucasian
         6. Other [Please Specify]




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                                                   Nail Treatment Questionnaire

ASK IF: HAS NOT TERMINATED
Q160 For quality assurance, please type the word "west" in the blank next to the
     "Other" box below and then click to continue.
           1. Strongly agree
           2. Agree
           3. Neutral
           4. Disagree
           5. Strongly disagree
           6. Other ________ [DO NOT FORCE TEXT BOX]
[TERMINATE IF SELECTED 160/1-5 OR IF NOTHING ENTERED IN r6.]


ASK IF: HAS NOT TERMINATED
Q180 You have qualified to take this survey. Before continuing, please carefully
     read these instructions:

*      Please take the survey in one session without interruption.
*      Please keep your browser maximized for the entire survey.
*      While taking the survey, please do not consult any other websites or other
       electronic or written materials.
*      Please answer all questions on your own without consulting any other
       person.
*      If you normally wear eye glasses or contact lenses when viewing a
       computer screen, please wear them for the survey.


          1. I understand and agree to the above instructions
          2. I do not understand or do not agree to the above
             instructions [TERMINATE]

[ONLY QUALIFIED RESPONDENTS SHOULD CONTINUE BEYOND THIS
POINT]

[EACH RESPONDENT SHOULD BE RANDOMLY ASSIGNED TO ONLY
ONE CELL AND PRIORITIZED BY NEED TO FILL AGE/GENDER
QUOTAS]

[PROGRAMMING NOTE: DISPLAY ANY TEXT WITH ITS OWN
QUESTION NUMBER ON A SCREEN BY ITSELF UNLESS OTHERWISE
SPECIFIED.]




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                                                     Nail Treatment Questionnaire

MAIN SURVEY

ASK: ALL
200. On the next screen we are going to show you an image of a set of nail
     treatment products. Please take your time to review the products. The
     continue button will not be enabled until 15 seconds have passed to
     ensure that you have enough time to look at the image.

      When you have finished, you will be asked some questions. For any
      question, if you have no opinion or do not know then please indicate so.
      Please do not guess.


BASE: ALL QUALIFIED RESPONDENTS
Q250 Please take your time to review this image of nail treatment products.

      [INSERT IMAGE 1000 FOR CELL 1 OR IMAGE 2000 FOR CELL 2.]

[DISABLE CONTINUE BUTTON UNTIL 15 SECONDS HAS ELAPSED.
SHOW FOLLOWING INSTRUCTION WHILE THE CONTINUE BUTTON IS
DISABLED: You will be able to continue after 15 seconds. AFTER 15 SECONDS
HAS PASSED, THEN REPLACE THE ABOVE LINE WITH THE
FOLLOWING:]

      Before continuing with the survey, please indicate whether or not you
      have viewed the image clearly.

      1. I viewed the image clearly
      2. I am unable to view the image clearly [TERMINATE; DO NOT
         COUNT AS COMPLETE]


ASK: ALL QUALIFIED RESPONDENTS
Q300 What company or brand do you think makes or puts out the products you
     were just shown, if you have an opinion?

      If you are thinking of more than one company or brand, you may enter answers in
      separate boxes below. If you don’t know or have no opinion, you may select that
      option.
      [3 SMALL TEXT BOXES & INCLUDE A “Don’t know/No Opinion”
      OPTION. FORCE AT LEAST ONE TEXT BOX OR DK/NO, BUT DO
      NOT ALLOW BOTH.]



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                                                      Nail Treatment Questionnaire


ASK: ALL QUALIFIED RESPONDENTS
Q310 Do you think that the products you were just shown are sponsored or
     approved by, or affiliated with, any other company or brand?

      1. Yes, I do
      2. No, I do not
      3. Don’t know/No opinion

ASK IF: Q310=1
Q315 You answered that you think that the products you were just shown are
     sponsored or approved by, or affiliated with, another company or brand.

      What other company or brand?

      If you are thinking of more than one company or brand, please enter each one in a
      separate box below.

      [5 SMALL TEXT BOXES & INCLUDE A “Don’t know” OPTION.
      FORCE AT LEAST ONE TEXT BOX OR DK, BUT DO NOT ALLOW
      BOTH.]



ASK IF: Q315=ENTERED TEXT IN AT LEAST ONE BOX
Q320 Each company or brand you named is listed below. For each one, please
     explain what makes you think that the products you were just shown are
     sponsored or approved by, or affiliated with, that company or brand.

      Please be as specific and detailed as possible.

      [LIST EACH COMPANY/BRAND ENTERED IN Q315 AND TO THE
      RIGHT OF EACH PROVIDE A LARGE TEXT BOX. ABOVE THE
      LARGE TEXT BOXES DISPLAY, “Reasons:”]


ASK: ALL QUALIFIED RESPONDENTS
Q330 Are you aware of any other products or brands that you think are made or
     put out by the same company as the products we showed you?

      1. Yes, I am
      2. No, I am not
      3. Don’t know/No opinion


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                                                        Nail Treatment Questionnaire


ASK IF: Q330=1
Q335 You answered that you are aware of other products or brands that you
     think are made or put out by the same company as the products we
     showed you.

      What other products or brands?

      If you are thinking of more than one, please enter each one in a separate box
      below.

      [5 SMALL TEXT BOXES & INCLUDE A “Don’t know” OPTION.
      FORCE AT LEAST ONE TEXT BOX OR DK, BUT DO NOT ALLOW
      BOTH.]

ASK IF: Q335=ENTERED TEXT IN AT LEAST ONE BOX
Q340 Each product or brand you named is listed below. For each one, please
     explain what makes you think it is made or put out by the same company
     as the products we showed you.

      Please be as specific and detailed as possible.

      [LIST EACH PRODUCT/BRAND ENTERED IN Q335 AND TO THE
      RIGHT OF EACH PROVIDE A LARGE TEXT BOX. ABOVE THE
      LARGE TEXT BOXES DISPLAY, “Reasons:”]

ASK: ALL QUALIFIED RESPONDENTS
Q350 Are you aware of any other products that use the term PolyGel?

      1. Yes, I am
      2. No, I am not
      3. Don’t know/No opinion

ASK IF: Q350=1
Q360 Using the boxes below, please describe any other products that you are
     aware of that use the term PolyGel.

      Please be as specific and detailed as possible and identify what type of product you
      are thinking of.

      [5 SMALL TEXT BOXES & INCLUDE A “Don’t know” OPTION.
      FORCE AT LEAST ONE TEXT BOX OR DK, BUT DO NOT ALLOW
      BOTH.]


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              APPENDIX C




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                                         Appendix C: Survey Screenshots


SCREENER SECTION

Q50




Q100




Q105




Q107




                                                                       1
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                                         Appendix C: Survey Screenshots

Q109




Q110




Q115




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                                         Appendix C: Survey Screenshots

Q118




Q120




                                                                       3
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                                         Appendix C: Survey Screenshots

Q130




Q140




Q150




                                                                       4
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                                         Appendix C: Survey Screenshots

Q155




Q160




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                                         Appendix C: Survey Screenshots

Q180




MAIN SURVEY

Q200




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                                         Appendix C: Survey Screenshots

Q250




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                                         Appendix C: Survey Screenshots

Q300




Q310




Q315




                                                                       8
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                                         Appendix C: Survey Screenshots

Q320




Q330




Q335




                                                                       9
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                                         Appendix C: Survey Screenshots



Q340




Q350




Q360




                                                                       10
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              APPENDIX D




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record         record         date          status       hQ105       hYear          hAge
          11             11   09/11/2018 08:52       3           2           1992          26
          12             12   09/11/2018 08:45       3           2           1956          62
          14             14   09/11/2018 08:46       3           2           1971          47
          16             16   09/11/2018 08:48       3           2           1957          61
          18             18   09/11/2018 08:51       3           2           1987          31
          23             23   09/11/2018 08:57       3           2           1941          77
          24             24   09/11/2018 08:55       3           2           1964          54
          25             25   09/11/2018 08:59       3           2           1980          38
          26             26   09/11/2018 09:46       3           2           1945          73
          27             27   09/11/2018 09:01       3           2           1976          42
          30             30   09/11/2018 09:07       3           2           1965          53
          31             31   09/11/2018 09:08       3           2           1977          41
          32             32   09/11/2018 09:09       3           2           1989          29
          34             34   09/11/2018 09:14       3           2           1989          29
          36             36   09/11/2018 09:21       3           2           1968          50
          37             37   09/11/2018 09:25       3           2           1978          40
          38             38   09/11/2018 10:05       3           2           1996          22
          41             41   09/11/2018 10:07       3           2           1969          49
          42             42   09/11/2018 10:08       3           2           1982          36
          46             46   09/11/2018 11:11       3           2           1942          76
          48             48   09/11/2018 11:14       3           2           1988          30
          51             51   09/11/2018 12:04       3           2           1953          65
          54             54   09/11/2018 12:06       3           2           1954          64
          55             55   09/11/2018 12:08       3           2           1961          57
          65             65   09/11/2018 12:20       3           2           1972          46
          66             66   09/11/2018 12:20       3           2           1966          52
          67             67   09/11/2018 12:22       3           2           1968          50
          72             72   09/11/2018 13:15       3           2           1989          29
          78             78   09/11/2018 13:23       3           2           1986          32
          79             79   09/11/2018 14:11       3           2           1986          32
          80             80   09/11/2018 15:03       3           2           1959          59
          85             85   09/11/2018 15:39       3           2           1995          23
          87             87   09/11/2018 17:21       3           2           1946          72
          89             89   09/11/2018 23:16       3           2           1996          22
          92             92   09/11/2018 23:46       3           2           1972          46
          93             93   09/11/2018 23:54       3           2           1963          55
          96             96   09/12/2018 07:36       3           2           1989          29
          98             98   09/12/2018 10:42       3           2           1935          83
         101            101   09/12/2018 10:43       3           2           1963          55
         103            103   09/12/2018 10:41       3           2           1950          68
         105            105   09/12/2018 11:07       3           2           1947          71
         111            111   09/12/2018 12:19       3           2           1956          62
         112            112   09/12/2018 12:20       3           2           1951          67
         114            114   09/12/2018 12:29       3           2           1983          35
         116            116   09/12/2018 12:30       3           2           1967          51
         117            117   09/12/2018 12:33       3           2           1974          44
         120            120   09/12/2018 12:53       3           2           1981          37
         123            123   09/13/2018 07:54       3           2           1984          34
         127            127   09/13/2018 07:58       3           2           1972          46
         129            129   09/13/2018 08:01       3           2           1988          30
         130            130   09/13/2018 07:58       3           2           1975          43
         135            135   09/13/2018 11:41       3           2           1973          45
         136            136   09/13/2018 08:03       3           2           1979          39
         137            137   09/13/2018 08:10       3           2           1985          33
         138            138   09/13/2018 08:07       3           2           1986          32
         139            139   09/13/2018 08:12       3           2           1976          42
         141            141   09/13/2018 08:16       3           2           1992          26
         145            145   09/13/2018 08:20       3           2           1983          35


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147        147   09/13/2018 08:24    3           2        1965       53
148        148   09/13/2018 08:22    3           2        1973       45
151        151   09/13/2018 08:26    3           2        1975       43
154        154   09/13/2018 08:31    3           2        1965       53
158        158   09/13/2018 08:38    3           2        1982       36
161        161   09/13/2018 08:44    3           2        1984       34
162        162   09/13/2018 08:51    3           2        1964       54
163        163   09/13/2018 09:00    3           2        1973       45
166        166   09/13/2018 09:02    3           2        1963       55
168        168   09/13/2018 09:05    3           2        1968       50
169        169   09/13/2018 09:08    3           2        1977       41
171        171   09/13/2018 09:14    3           2        1978       40
172        172   09/13/2018 09:14    3           2        1966       52
173        173   09/13/2018 09:22    3           2        1967       51
175        175   09/13/2018 09:28    3           2        1981       37
176        176   09/13/2018 09:36    3           2        1974       44
177        177   09/13/2018 11:13    3           2        1968       50
178        178   09/13/2018 09:38    3           2        1967       51
182        182   09/13/2018 09:50    3           2        1971       47
184        184   09/13/2018 09:57    3           2        1972       46
185        185   09/13/2018 10:08    3           2        1970       48
188        188   09/13/2018 10:14    3           2        1967       51
193        193   09/13/2018 10:21    3           2        1979       39
195        195   09/13/2018 10:25    3           2        1976       42
196        196   09/13/2018 10:34    3           2        1982       36
197        197   09/13/2018 10:29    3           2        1978       40
198        198   09/13/2018 10:31    3           2        1972       46
199        199   09/13/2018 10:33    3           2        1980       38
200        200   09/13/2018 10:54    3           2        1974       44
203        203   09/13/2018 15:33    3           2        1971       47
205        205   09/13/2018 19:29    3           2        1974       44
206        206   09/13/2018 20:33    3           2        1970       48
208        208   09/14/2018 06:01    3           2        1991       27
209        209   09/14/2018 06:47    3           2        1976       42
211        211   09/14/2018 07:30    3           2        1981       37
215        215   09/14/2018 08:35    3           2        1974       44
216        216   09/14/2018 08:45    3           2        1974       44
221        221   09/14/2018 08:52    3           2        1965       53
225        225   09/18/2018 07:22    3           2        1955       63
226        226   09/18/2018 07:29    3           2        1962       56
227        227   09/18/2018 07:32    3           2        1950       68
228        228   09/18/2018 07:35    3           2        1953       65
229        229   09/18/2018 07:40    3           2        1956       62
231        231   09/18/2018 07:47    3           2        1948       70
232        232   09/18/2018 07:49    3           2        1949       69
233        233   09/18/2018 07:49    3           2        1960       58
238        238   09/18/2018 07:54    3           2        1960       58
239        239   09/18/2018 07:56    3           2        1980       38
241        241   09/18/2018 08:05    3           2        1952       66
242        242   09/18/2018 08:05    3           2        1970       48
243        243   09/18/2018 08:36    3           2        1982       36
247        247   09/18/2018 08:15    3           2        1956       62
248        248   09/18/2018 08:18    3           2        1981       37
250        250   09/18/2018 08:23    3           2        1951       67
252        252   09/18/2018 08:29    3           2        1950       68
253        253   09/18/2018 08:33    3           2        1970       48
254        254   09/18/2018 08:39    3           2        1978       40
257        257   09/18/2018 08:44    3           2        1967       51
258        258   09/18/2018 08:44    3           2        1987       31


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263        263   09/18/2018 09:07    3           2        1964       54
265        265   09/18/2018 09:09    3           2        1967       51
266        266   09/18/2018 09:11    3           2        1984       34
267        267   09/18/2018 09:13    3           2        1982       36
270        270   09/19/2018 06:22    3           2        1951       67
272        272   09/19/2018 06:26    3           2        1982       36
273        273   09/19/2018 06:27    3           2        1987       31
275        275   09/19/2018 06:33    3           2        1981       37
278        278   09/19/2018 06:33    3           2        1985       33
280        280   09/19/2018 06:35    3           2        1986       32
281        281   09/19/2018 06:38    3           2        1982       36
283        283   09/19/2018 06:53    3           2        1977       41
284        284   09/19/2018 08:22    3           2        1965       53
285        285   09/19/2018 07:09    3           2        1981       37
293        293   09/19/2018 08:58    3           2        1986       32
297        297   09/19/2018 10:43    3           2        1978       40
305        305   09/19/2018 13:11    3           2        1988       30
309        309   09/20/2018 06:29    3           2        1976       42
310        310   09/20/2018 06:29    3           2        1971       47
311        311   09/20/2018 06:31    3           2        1969       49
312        312   09/20/2018 06:34    3           2        1988       30
314        314   09/20/2018 06:38    3           2        1967       51
315        315   09/20/2018 06:35    3           2        1976       42
318        318   09/20/2018 06:38    3           2        1987       31
319        319   09/20/2018 06:38    3           2        1990       28
321        321   09/20/2018 06:42    3           2        1972       46
322        322   09/20/2018 06:42    3           2        1966       52
324        324   09/20/2018 06:43    3           2        1987       31
325        325   09/20/2018 06:46    3           2        1993       25
328        328   09/20/2018 06:54    3           2        1973       45
330        330   09/20/2018 06:59    3           2        1975       43
333        333   09/20/2018 10:54    3           2        1972       46
335        335   09/20/2018 07:49    3           2        1980       38
337        337   09/20/2018 10:07    3           2        1983       35
338        338   09/20/2018 10:34    3           2        1967       51
340        340   09/21/2018 10:27    3           2        1970       48
345        345   09/21/2018 10:30    3           2        1976       42
348        348   09/21/2018 10:32    3           2        1978       40
349        349   09/21/2018 10:32    3           2        1994       24
351        351   09/21/2018 10:33    3           2        1980       38
353        353   09/21/2018 10:36    3           2        1968       50
355        355   09/21/2018 10:53    3           2        1979       39
356        356   09/21/2018 10:45    3           2        1967       51
358        358   09/21/2018 10:46    3           2        1965       53
359        359   09/21/2018 10:45    3           2        1982       36
361        361   09/21/2018 10:51    3           2        1969       49
363        363   09/21/2018 10:55    3           2        1972       46
365        365   09/21/2018 10:55    3           2        1971       47
368        368   09/21/2018 11:06    3           2        1970       48
369        369   09/21/2018 11:21    3           2        1979       39
370        370   09/22/2018 07:11    3           2        1975       43
371        371   09/22/2018 07:14    3           2        1998       20
372        372   09/22/2018 07:16    3           2        1987       31
373        373   09/22/2018 07:19    3           2        1971       47
376        376   09/22/2018 07:25    3           2        1964       54
377        377   09/22/2018 07:26    3           2        1990       28
379        379   09/22/2018 07:29    3           2        1966       52
381        381   09/22/2018 07:34    3           2        1983       35
383        383   09/22/2018 07:43    3           2        1974       44


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384        384   09/22/2018 07:41    3           2        1970       48
385        385   09/22/2018 07:41    3           2        1966       52
389        389   09/22/2018 08:13    3           2        1977       41
390        390   09/22/2018 08:38    3           2        1969       49
391        391   09/22/2018 08:52    3           2        1984       34
392        392   09/23/2018 07:03    3           2        1979       39
396        396   09/23/2018 07:08    3           2        1968       50
397        397   09/23/2018 07:12    3           2        1975       43
399        399   09/23/2018 07:47    3           2        1975       43
403        403   09/23/2018 10:53    3           2        1965       53
404        404   09/23/2018 21:29    3           2        1985       33
405        405   09/23/2018 21:24    3           2        1982       36
406        406   09/23/2018 21:27    3           2        1968       50
407        407   09/23/2018 21:27    3           2        1968       50
409        409   09/23/2018 21:51    3           2        1986       32
410        410   09/23/2018 21:33    3           2        1971       47
413        413   09/23/2018 21:38    3           2        1988       30
419        419   09/23/2018 21:53    3           2        1976       42
420        420   09/23/2018 21:55    3           2        1975       43
421        421   09/23/2018 21:59    3           2        1965       53
479        479   09/24/2018 00:24    3           2        1986       32
488        488   09/24/2018 06:35    3           2        1991       27
489        489   09/24/2018 06:57    3           2        1983       35
495        495   09/24/2018 08:19    3           2        1985       33




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hAge1        Q100          Q105       Q107       d107r1       d107r2       d107r3
        25          1992          2          2            0            1            0
        61          1956          2          4            0            0            0
        46          1971          2          3            0            0            1
        60          1957          2          4            0            0            0
        30          1987          2          2            0            1            0
        76          1941          2          4            0            0            0
        53          1964          2          3            0            0            1
        37          1980          2          3            0            0            1
        72          1945          2          4            0            0            0
        41          1976          2          3            0            0            1
        52          1965          2          3            0            0            1
        40          1977          2          3            0            0            1
        28          1989          2          2            0            1            0
        28          1989          2          2            0            1            0
        49          1968          2          3            0            0            1
        39          1978          2          3            0            0            1
        21          1996          2          2            0            1            0
        48          1969          2          3            0            0            1
        35          1982          2          3            0            0            1
        75          1942          2          4            0            0            0
        29          1988          2          2            0            1            0
        64          1953          2          4            0            0            0
        63          1954          2          4            0            0            0
        56          1961          2          4            0            0            0
        45          1972          2          3            0            0            1
        51          1966          2          3            0            0            1
        49          1968          2          3            0            0            1
        28          1989          2          2            0            1            0
        31          1986          2          2            0            1            0
        31          1986          2          2            0            1            0
        58          1959          2          4            0            0            0
        22          1995          2          2            0            1            0
        71          1946          2          4            0            0            0
        21          1996          2          2            0            1            0
        45          1972          2          3            0            0            1
        54          1963          2          3            0            0            1
        28          1989          2          2            0            1            0
        82          1935          2          4            0            0            0
        54          1963          2          4            0            0            1
        67          1950          2          4            0            0            0
        70          1947          2          4            0            0            0
        61          1956          2          4            0            0            0
        66          1951          2          4            0            0            0
        34          1983          2          2            0            1            1
        50          1967          2          3            0            0            1
        43          1974          2          3            0            0            1
        36          1981          2          3            0            0            1
        33          1984          2          2            0            1            0
        45          1972          2          3            0            0            1
        29          1988          2          2            0            1            0
        42          1975          2          3            0            0            1
        44          1973          2          3            0            0            1
        38          1979          2          3            0            0            1
        32          1985          2          2            0            1            0
        31          1986          2          2            0            1            0
        41          1976          2          3            0            0            1
        25          1992          2          2            0            1            0
        34          1983          2          3            0            1            1


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52        1965           2           3           0           0       1
44        1973           2           3           0           0       1
42        1975           2           3           0           0       1
52        1965           2           3           0           0       1
35        1982           2           3           0           0       1
33        1984           2           2           0           1       0
53        1964           2           3           0           0       1
44        1973           2           3           0           0       1
54        1963           2           3           0           0       1
49        1968           2           3           0           0       1
40        1977           2           3           0           0       1
39        1978           2           3           0           0       1
51        1966           2           3           0           0       1
50        1967           2           3           0           0       1
36        1981           2           3           0           0       1
43        1974           2           3           0           0       1
49        1968           2           3           0           0       1
50        1967           2           3           0           0       1
46        1971           2           3           0           0       1
45        1972           2           3           0           0       1
47        1970           2           3           0           0       1
50        1967           2           3           0           0       1
38        1979           2           3           0           0       1
41        1976           2           3           0           0       1
35        1982           2           3           0           0       1
39        1978           2           3           0           0       1
45        1972           2           3           0           0       1
37        1980           2           3           0           0       1
43        1974           2           3           0           0       1
46        1971           2           3           0           0       1
43        1974           2           3           0           0       1
47        1970           2           3           0           0       1
26        1991           2           2           0           1       0
41        1976           2           3           0           0       1
36        1981           2           3           0           0       1
43        1974           2           3           0           0       1
43        1974           2           3           0           0       1
52        1965           2           3           0           0       1
62        1955           2           4           0           0       0
55        1962           2           4           0           0       0
67        1950           2           4           0           0       0
64        1953           2           4           0           0       0
61        1956           2           4           0           0       0
69        1948           2           4           0           0       0
68        1949           2           4           0           0       0
57        1960           2           4           0           0       0
57        1960           2           4           0           0       0
37        1980           2           3           0           0       1
65        1952           2           4           0           0       0
47        1970           2           3           0           0       1
35        1982           2           3           0           0       1
61        1956           2           4           0           0       0
36        1981           2           3           0           0       1
66        1951           2           4           0           0       0
67        1950           2           4           0           0       0
47        1970           2           3           0           0       1
39        1978           2           3           0           0       1
50        1967           2           3           0           0       1
30        1987           2           2           0           1       0


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53        1964           2           3           0           0       1
50        1967           2           3           0           0       1
33        1984           2           2           0           1       0
35        1982           2           3           0           0       1
66        1951           2           4           0           0       0
35        1982           2           3           0           0       1
30        1987           2           2           0           1       0
36        1981           2           3           0           0       1
32        1985           2           2           0           1       0
31        1986           2           2           0           1       0
35        1982           2           3           0           0       1
40        1977           2           3           0           0       1
52        1965           2           3           0           0       1
36        1981           2           3           0           0       1
31        1986           2           2           0           1       0
39        1978           2           3           0           0       1
29        1988           2           2           0           1       0
41        1976           2           3           0           0       1
46        1971           2           3           0           0       1
48        1969           2           3           0           0       1
29        1988           2           2           0           1       0
50        1967           2           3           0           0       1
41        1976           2           3           0           0       1
30        1987           2           2           0           1       0
27        1990           2           2           0           1       0
45        1972           2           3           0           0       1
51        1966           2           3           0           0       1
30        1987           2           2           0           1       0
24        1993           2           2           0           1       0
44        1973           2           3           0           0       1
42        1975           2           3           0           0       1
45        1972           2           3           0           0       1
37        1980           2           3           0           0       1
34        1983           2           3           0           1       1
50        1967           2           3           0           0       1
47        1970           2           3           0           0       1
41        1976           2           3           0           0       1
39        1978           2           3           0           0       1
23        1994           2           2           0           1       0
37        1980           2           3           0           0       1
49        1968           2           3           0           0       1
38        1979           2           3           0           0       1
50        1967           2           3           0           0       1
52        1965           2           3           0           0       1
35        1982           2           3           0           0       1
48        1969           2           3           0           0       1
45        1972           2           3           0           0       1
46        1971           2           3           0           0       1
47        1970           2           3           0           0       1
38        1979           2           3           0           0       1
42        1975           2           3           0           0       1
19        1998           2           2           0           1       0
30        1987           2           2           0           1       0
46        1971           2           3           0           0       1
53        1964           2           3           0           0       1
27        1990           2           2           0           1       0
51        1966           2           3           0           0       1
34        1983           2           3           0           1       1
43        1974           2           3           0           0       1


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47        1970           2           3           0           0       1
51        1966           2           3           0           0       1
40        1977           2           3           0           0       1
48        1969           2           3           0           0       1
33        1984           2           2           0           1       0
38        1979           2           3           0           0       1
49        1968           2           3           0           0       1
42        1975           2           3           0           0       1
42        1975           2           3           0           0       1
52        1965           2           3           0           0       1
 32        1985          2           2           0           1       0
 35        1982          2           3           0           0       1
 49        1968          2           3           0           0       1
 49        1968          2           3           0           0       1
 31        1986          2           2           0           1       0
 46        1971          2           3           0           0       1
 29        1988          2           2           0           1       0
 41        1976          2           3           0           0       1
 42        1975          2           3           0           0       1
 52        1965          2           3           0           0       1
 31        1986          2           2           0           1       0
 26        1991          2           2           0           1       0
 34        1983          2           2           0           1       1
 32        1985          2           2           0           1       0




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d107r4        Q109r1       Q109r2       Q109r3       Q109r4       Q109r5       Q109r6
          0            1            0            0            0            0            0
          1            0            1            0            0            0            1
          0            0            0            0            0            0            1
          1            1            0            0            0            0            0
          0            1            1            0            0            0            0
          1            0            0            0            0            0            0
          0            1            0            0            0            0            0
          0            1            1            1            0            1            1
          1            0            1            0            0            1            1
          0            1            0            1            1            1            1
          0            1            1            0            0            0            0
          0            1            0            0            0            0            1
          0            1            1            0            0            1            1
          0            1            1            0            0            1            0
          0            0            0            0            0            0            0
          0            0            1            0            0            1            0
          0            1            0            0            0            0            0
          0            1            1            0            0            0            1
          0            1            1            1            1            1            0
          1            1            1            0            0            0            0
          0            1            0            1            1            0            1
          1            1            1            1            0            1            1
          1            1            0            0            0            0            0
          1            0            0            0            0            1            0
          0            1            0            1            0            0            0
          0            1            0            1            0            1            0
          0            1            1            0            0            0            0
          0            1            1            0            1            0            1
          0            1            1            0            0            1            0
          0            0            0            0            1            1            1
          1            1            1            0            1            1            0
          0            1            0            0            1            0            0
          1            1            0            0            0            0            0
          0            1            1            0            0            0            1
          0            1            1            0            0            0            0
          1            0            1            0            0            1            0
          0            1            1            0            0            1            1
          1            1            0            0            0            0            0
          1            1            0            0            1            1            1
          1            1            1            0            0            0            0
          1            1            1            1            1            1            1
          1            1            1            1            0            0            0
          1            1            1            0            1            1            0
          0            1            1            1            1            1            1
          0            1            0            0            0            0            0
          0            1            1            0            1            1            1
          0            1            1            0            0            0            0
          0            1            0            0            0            0            0
          0            1            0            0            0            0            0
          0            1            0            0            0            0            1
          0            1            0            1            1            1            1
          0            1            1            0            0            0            0
          0            1            0            1            0            0            0
          0            1            0            0            1            1            0
          0            1            0            0            0            1            1
          0            1            1            1            1            0            1
          0            1            0            1            1            0            1
          0            1            0            0            0            0            0


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 0           1           1           0           0           1       0
 0           1           0           0           0           0       0
 0           1           0           0           0           1       1
 0           1           1           1           1           1       1
 0           1           1           0           0           0       0
 0           1           0           0           1           0       1
 0           1           1           1           0           0       1
 0           0           1           0           0           1       1
 1           1           1           0           1           1       1
 0           0           1           1           1           0       0
 0           1           1           1           0           1       0
 0           1           1           0           0           0       1
 0           0           0           0           0           0       1
 0           0           1           0           1           0       0
 0           1           0           0           1           1       0
 0           1           1           0           0           0       1
 0           1           1           1           1           1       1
 0           0           0           0           0           0       1
 0           1           1           0           1           0       0
 0           1           0           0           0           1       0
 0           1           1           1           1           1       0
 0           1           1           0           0           1       0
 0           1           0           0           1           0       1
 0           1           1           0           0           0       0
 0           1           0           1           0           0       1
 0           1           1           0           0           1       1
 0           1           0           0           0           0       1
 0           1           0           0           0           0       0
 0           1           1           0           1           1       0
 0           1           1           0           0           1       1
 0           1           0           0           0           0       1
 0           1           1           0           1           0       0
 0           1           0           0           0           0       0
 0           1           0           0           0           0       0
 0           1           1           1           1           0       1
 0           1           0           0           0           0       0
 0           1           0           0           0           0       0
 0           1           1           1           1           0       1
 1           1           1           0           0           0       0
 1           1           1           0           0           1       1
 1           0           1           0           0           0       0
 1           1           1           0           0           1       1
 1           1           0           1           1           1       1
 1           1           1           0           0           1       0
 1           1           0           1           0           0       0
 1           0           1           0           1           1       1
 1           1           0           0           1           1       1
 0           1           1           1           1           0       0
 1           1           1           0           0           1       1
 0           1           0           0           0           0       1
 0           1           1           1           1           1       0
 1           1           1           0           1           1       1
 0           1           1           0           0           1       0
 1           1           1           0           0           0       0
 1           1           0           0           0           0       0
 0           0           0           1           0           1       0
 0           1           0           1           0           0       1
 0           1           1           1           0           0       0
 0           1           0           0           0           0       0


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 0           1           1           0           0           1       0
 0           1           1           0           0           0       1
 0           1           1           0           1           1       1
 0           1           0           0           0           1       1
 1           1           0           1           0           0       0
 0           1           1           0           0           1       1
 0           1           0           0           0           0       0
 0           1           1           0           1           0       0
 0           1           0           0           0           0       0
 0           1           1           1           0           0       1
 0           0           1           0           0           1       0
 0           1           1           0           1           1       0
 0           1           1           0           0           0       0
 0           1           1           0           0           0       1
 0           1           1           0           1           1       0
 0           1           1           0           0           1       0
 0           1           1           0           0           1       1
 0           1           1           1           0           0       0
 0           1           1           0           0           0       1
 0           1           1           1           1           1       0
 0           1           1           1           0           1       0
 0           1           0           1           0           1       0
 0           1           1           1           1           0       1
 0           1           1           1           1           0       1
 0           1           0           0           0           0       0
 0           1           1           0           0           0       0
 0           1           0           0           1           1       1
 0           1           0           0           0           0       0
 0           1           0           1           0           0       0
 0           1           1           0           0           0       1
 0           1           1           0           0           1       1
 0           1           1           1           0           0       0
 0           1           1           1           0           1       1
 0           1           0           0           0           0       0
 0           0           1           0           1           0       0
 0           1           0           1           0           0       1
 0           1           0           0           1           0       0
 0           1           0           0           0           1       1
 0           1           0           0           1           1       0
 0           0           0           0           0           1       0
 0           0           0           0           0           0       1
 0           1           1           1           1           1       1
 0           1           0           0           1           1       0
 0           1           1           1           1           1       1
 0           1           0           1           0           1       0
 0           1           1           1           0           0       0
 0           1           0           0           0           1       1
 0           1           1           0           0           0       1
 0           1           1           0           0           1       1
 0           0           0           0           0           0       1
 0           1           1           0           1           1       1
 0           1           1           1           1           1       1
 0           1           0           1           1           0       1
 0           1           0           0           0           0       0
 0           1           0           0           0           0       0
 0           1           1           0           0           0       1
 0           1           0           0           0           0       0
 0           1           0           0           0           1       0
 0           1           1           0           0           0       0


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 0           1           0           1           1           0       0
 0           1           0           0           1           1       1
 0           1           1           0           0           0       0
 0           1           1           0           0           1       0
 0           1           0           0           0           0       0
 0           1           1           0           0           0       0
 0           1           0           1           1           1       0
 0           0           0           0           0           0       0
 0           1           1           1           0           0       0
 0           1           1           0           0           0       1
 0           1           0           0           0           0       0
 0           1           0           1           0           0       0
 0           1           0           0           0           0       0
 0           0           1           0           0           1       0
 0           1           1           1           1           1       1
 0           1           1           1           1           0       0
 0           1           1           0           0           1       1
 0           1           0           0           1           0       0
 0           1           1           0           1           1       1
 0           1           1           1           1           1       1
 0           1           0           0           0           0       1
 0           1           0           0           0           0       1
 0           1           1           1           0           0       0
 0           1           0           0           0           1       0




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Q109r7        Q109r8       Q109r9       Q109r10       Q110        Region       Q115r1
          0            0            0             0          39            2            1
          0            0            1             0          33            2            1
          0            0            0             0          33            2            1
          0            0            1             0          39            2            1
          0            0            0             0          43            3            1
          0            0            0             1          10            5            1
          0            0            1             0          41            5            1
          0            0            0             0          33            2            1
          0            0            0             0           1            3            1
          0            0            0             0          43            3            1
          0            0            0             0          20            2            0
          0            0            1             0          48            4            1
          0            0            0             0          33            2            1
          0            0            0             0          48            4            1
          0            0            0             1          33            2            1
          0            0            0             0          47            5            1
          0            0            1             0          33            2            1
          0            0            0             0          23            1            1
          0            0            0             0          44            3            1
          0            0            0             0          31            2            1
          0            0            0             0          39            2            0
          0            0            0             0          28            4            1
          1            0            0             0           6            4            1
          0            0            0             0          36            1            1
          0            0            0             0          12            4            1
          0            0            0             0           1            3            0
          0            0            0             0          31            2            1
          0            0            0             0          36            1            0
          0            0            0             0          14            1            1
          0            0            0             0          43            3            0
          0            0            0             0          39            2            1
          0            0            0             0          19            3            1
          0            0            0             0          14            1            1
          0            0            0             0          11            5            1
          0            0            0             0           3            4            1
          0            0            0             0          15            1            1
          0            0            0             0           3            4            1
          0            0            0             0          28            4            1
          0            0            0             0          26            3            1
          0            0            0             0          44            3            1
          0            0            0             0           3            4            1
          0            0            0             0          39            2            1
          0            0            0             0          26            3            1
          0            0            0             0          34            5            1
          0            0            0             0           5            4            1
          0            0            0             0          15            1            1
          0            0            0             0          23            1            1
          0            0            0             0          34            5            1
          0            0            0             0          39            2            1
          0            0            0             0          39            2            1
          0            0            0             0          14            1            1
          0            0            0             0          44            3            1
          0            0            0             0          31            2            1
          0            0            0             0          33            2            0
          0            0            0             0          14            1            1
          0            0            0             0          36            1            1
          0            0            0             0          37            3            1
          0            0            0             0           5            4            1


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 0           0           0           0          33           2       0
 0           0           0           0          36           1       1
 0           0           0           0          38           4       0
 0           0           0           0          16           1       1
 0           0           0           0          49           5       0
 0           0           0           0          31           2       1
 0           0           0           0          37           3       1
 0           0           0           0           6           4       0
 0           0           0           0          15           1       1
 0           0           0           0          33           2       1
 0           0           0           0          44           3       1
 0           0           0           0          33           2       1
 0           0           0           0           3           4       1
 0           0           0           0          18           3       1
 0           0           0           0          23           1       1
 0           0           0           0          19           3       0
 0           0           0           0          10           5       1
 0           0           0           0          44           3       1
 0           0           0           0          41           5       1
 0           0           0           0          45           4       1
 0           0           0           0          24           1       1
 0           0           0           0          11           5       1
 0           0           0           0           6           4       1
 0           0           0           0          34           5       1
 0           0           0           0           5           4       1
 0           0           0           0           5           4       0
 1           0           0           0          10           5       1
 0           0           0           0           1           3       1
 0           0           0           0          39           2       1
 0           0           0           0          40           2       1
 0           0           0           0          10           5       1
 0           0           0           0          33           2       1
 0           0           0           0          39           2       1
 0           0           0           0          10           5       0
 0           0           0           0          15           1       1
 0           0           0           0           5           4       1
 0           0           0           0          11           5       0
 0           0           0           0          22           2       0
 0           0           0           0          36           1       1
 0           0           0           0           5           4       1
 0           0           1           0          14           1       1
 0           0           0           0           7           2       1
 0           0           0           0          49           5       1
 0           0           0           0          11           5       1
 0           0           0           0          39           2       1
 0           0           0           0          50           1       1
 0           0           1           0          38           4       1
 0           0           0           0          43           3       1
 0           0           0           0           6           4       0
 0           0           0           0           7           2       1
 0           0           0           0          23           1       1
 0           0           0           0          44           3       1
 0           0           1           0           1           3       1
 0           0           1           0           5           4       1
 0           0           0           0          34           5       1
 0           0           0           0          38           4       1
 0           0           0           0          31           2       1
 0           0           0           0           3           4       1
 0           0           0           0           8           5       1


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 0           0           0           0          25           3       1
 0           0           0           0          31           2       0
 0           0           0           0          20           2       1
 0           0           0           0          44           3       1
 0           0           0           0          22           2       1
 0           0           0           0          47           5       0
 0           0           0           0          36           1       0
 0           0           0           0          34           5       1
 0           0           1           0           7           2       0
 0           0           0           0          11           5       1
 0           0           0           0          21           5       1
 0           0           0           0          15           1       1
 0           0           0           0           5           4       1
 0           0           0           0          11           5       0
 0           0           0           0          34           5       1
 0           0           0           0          14           1       1
 0           0           0           0           6           4       1
 0           0           0           0          39           2       1
 0           0           0           0          50           1       1
 0           0           0           0          36           1       1
 0           0           0           0          34           5       1
 0           0           0           0          15           1       1
 0           0           0           0          36           1       1
 0           0           0           0          47           5       0
 0           0           0           0          23           1       1
 0           0           0           0          23           1       1
 0           0           0           0           7           2       1
 0           0           0           0          23           1       0
 0           0           0           0          33           2       1
 0           0           0           0          39           2       1
 0           0           0           0          22           2       1
 0           0           0           0          39           2       1
 0           0           0           0          33           2       1
 0           0           0           0          33           2       1
 0           0           0           0          34           5       1
 0           0           0           0          31           2       1
 0           0           0           0          43           3       1
 0           0           0           0          44           3       1
 0           0           0           0          41           5       1
 0           0           0           0           5           4       1
 0           0           0           0          36           1       1
 0           0           0           0          10           5       1
 0           0           0           0           3           4       1
 0           0           0           0          26           3       0
 0           0           0           0          24           1       1
 0           0           0           0          29           4       1
 0           0           0           0          10           5       1
 0           0           0           0          37           3       1
 0           0           0           0          28           4       1
 0           0           0           0          39           2       1
 0           0           0           0          39           2       1
 0           0           0           0          29           4       1
 0           0           0           0          26           3       1
 0           0           0           0          49           5       1
 0           0           0           0          50           1       1
 0           0           0           0          28           4       1
 0           0           0           0          30           2       1
 0           0           0           0          34           5       0
 0           0           0           0          10           5       1


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 0           0           0           0          36           1       1
 0           0           0           0          38           4       1
 0           0           0           0           6           4       1
 0           0           0           0           6           4       1
 0           0           1           0          34           5       1
 0           0           0           0          36           1       1
 0           0           0           0          21           5       1
 0           0           1           0          10           5       0
 0           0           0           0          15           1       1
 0           0           0           0          39           2       0
 0           0           0           0          24           1       1
 0           0           0           0           3           4       1
 0           0           0           0          47           5       1
 0           0           0           0           5           4       1
 0           0           0           0          37           3       1
 0           0           0           0          34           5       1
 0           0           0           0          44           3       1
 0           0           0           0          10           5       1
 0           0           0           0           2           4       1
 0           0           0           0          11           5       0
 0           0           0           0          33           2       1
 0           0           0           0          36           1       1
 0           0           0           0          21           5       1
 0           0           0           0          33           2       1




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Q115r2        Q115r3       Q115r4       Q115r5       Q118r1       Q118r2       Q118r3
          1            1            1            0            1            1            1
          1            1            0            0            1            1            1
          1            0            0            0            0            0            0
          0            0            1            0            1            0            1
          1            1            1            0            1            1            1
          1            0            0            0            1            1            0
          0            1            0            0            1            0            1
          1            1            1            0            1            1            1
          0            0            0            0            1            0            0
          1            1            1            0            1            1            1
          0            0            0            1            1            0            0
          1            1            1            0            1            1            1
          1            1            1            0            1            1            1
          0            1            0            0            1            1            1
          1            0            0            0            0            1            0
          0            0            0            0            1            0            1
          0            1            1            0            1            0            1
          0            1            1            0            1            0            1
          1            1            1            0            1            1            1
          1            0            0            0            1            1            1
          1            1            0            0            1            1            1
          0            1            1            0            0            0            1
          0            1            1            0            1            0            1
          0            0            0            0            1            0            0
          0            1            0            0            1            0            1
          1            1            1            0            1            1            1
          0            1            0            0            1            0            1
          1            1            0            0            1            1            1
          0            1            1            0            0            0            0
          0            1            1            0            1            0            1
          1            1            1            0            0            1            1
          1            1            1            0            1            1            1
          1            1            0            0            1            1            0
          1            1            0            0            0            0            1
          1            1            1            0            1            1            1
          1            1            1            0            1            1            1
          1            1            0            0            1            0            1
          1            1            1            0            1            1            1
          1            1            1            0            1            1            1
          1            1            0            0            1            1            1
          0            1            1            0            1            0            1
          1            0            0            0            1            1            0
          0            1            1            0            1            1            1
          0            1            1            0            1            0            1
          1            1            0            0            1            1            1
          0            0            1            0            1            0            0
          0            1            0            0            1            1            1
          1            1            0            0            1            1            1
          0            1            1            0            1            0            1
          0            0            0            0            1            0            0
          1            0            1            0            1            1            1
          0            1            1            0            0            0            1
          1            0            0            0            1            1            1
          1            1            1            0            1            1            1
          1            0            1            0            1            1            0
          0            0            0            0            1            1            1
          1            1            1            0            1            1            1
          0            1            1            0            1            0            0


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 0           0           0           1           1           0       0
 0           1           1           0           1           0       1
 1           1           0           0           1           0       1
 1           1           1           0           1           1       1
 0           0           1           0           1           0       1
 0           1           0           0           1           0       1
 0           0           0           0           1           0       0
 0           1           0           0           1           1       1
 1           0           1           0           1           1       0
 1           0           0           0           1           1       0
 1           1           0           0           1           1       1
 0           1           1           0           1           0       1
 0           1           0           0           0           0       0
 1           1           1           0           1           1       1
 1           1           1           0           1           1       1
 0           0           0           1           1           0       1
 1           1           0           0           1           1       1
 1           1           1           0           1           1       1
 1           1           1           0           1           1       1
 1           1           0           0           1           1       1
 1           1           1           0           1           1       0
 0           1           0           0           1           0       1
 0           1           1           0           1           0       1
 1           1           1           0           1           1       1
 0           1           0           0           1           1       1
 0           0           0           1           1           1       1
 1           1           0           0           1           1       1
 1           1           0           0           0           1       0
 0           0           0           0           1           0       0
 0           1           0           0           1           1       1
 1           1           1           0           1           1       1
 0           1           1           0           1           0       1
 0           0           1           0           1           0       0
 0           1           0           0           1           1       1
 0           1           0           0           1           0       1
 1           0           1           0           1           1       0
 1           0           0           0           1           1       1
 0           1           1           0           1           0       1
 0           1           1           0           1           0       1
 0           0           0           0           1           0       0
 1           1           1           0           1           1       1
 1           1           0           0           1           1       1
 1           1           1           0           1           1       1
 1           0           0           0           0           1       0
 1           1           0           0           0           1       0
 0           0           0           0           1           0       0
 1           1           1           0           1           1       1
 1           1           1           0           1           1       1
 1           0           1           0           1           1       1
 1           1           0           0           1           1       1
 1           1           1           0           1           1       1
 0           1           1           0           1           0       1
 0           0           1           0           0           0       0
 0           1           0           0           0           0       1
 1           0           1           0           1           1       0
 1           1           1           0           0           1       1
 0           0           1           0           1           1       0
 1           1           0           0           1           1       1
 0           1           0           0           1           0       1


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 0           1           0           0           1           0       1
 0           1           0           0           1           0       0
 1           0           1           0           1           1       0
 1           1           0           0           0           1       0
 0           0           0           0           0           0       0
 1           1           1           0           1           1       1
 0           1           0           0           1           0       1
 0           1           1           0           1           0       1
 0           1           1           0           1           0       1
 0           1           1           0           1           0       1
 0           1           0           0           0           0       1
 0           1           1           0           1           1       1
 1           1           0           0           1           1       1
 1           0           1           0           0           0       0
 1           1           0           0           0           0       1
 1           1           1           0           1           1       1
 1           1           1           0           1           1       1
 0           1           1           0           1           0       1
 0           1           1           0           1           0       1
 1           1           0           0           1           1       1
 1           1           1           0           0           1       1
 1           0           0           0           1           1       1
 1           1           1           0           1           1       1
 0           1           0           0           1           1       1
 0           1           1           0           0           0       1
 1           0           0           0           1           0       0
 1           1           1           0           1           1       1
 0           0           0           1           1           0       0
 1           1           1           0           1           1       1
 0           1           1           0           1           0       1
 1           1           1           0           1           1       1
 0           1           0           0           1           0       0
 1           1           0           0           1           1       1
 0           1           0           0           1           0       1
 0           0           0           0           1           0       1
 1           1           1           0           1           1       1
 0           1           1           0           1           0       1
 1           1           1           0           1           1       1
 0           0           0           0           1           0       1
 0           0           0           0           1           0       0
 0           1           1           0           1           0       1
 1           1           1           0           1           1       1
 0           1           0           0           1           0       1
 1           1           1           0           1           1       1
 0           1           1           0           1           1       1
 1           1           0           0           1           1       1
 1           1           1           0           1           1       1
 1           1           1           0           1           1       1
 1           0           0           0           1           1       0
 1           1           1           0           1           1       1
 0           1           1           0           1           1       1
 1           1           1           0           1           1       1
 1           1           1           0           1           1       1
 1           1           0           0           0           1       1
 1           1           0           0           1           1       1
 1           1           1           0           1           1       1
 1           1           1           0           1           1       1
 0           1           0           0           0           0       1
 0           1           1           0           1           1       1


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 1           0           0           0           1           1       0
 1           1           1           0           1           1       1
 0           1           1           0           1           1       1
 0           1           1           0           0           0       1
 0           1           0           0           1           0       1
 1           1           1           0           1           1       1
 1           1           0           0           1           1       1
 0           0           0           1           1           0       0
 1           1           1           0           1           1       1
 1           1           1           0           1           1       1
 1           1           0           0           1           1       1
 0           1           0           0           1           0       1
 1           1           1           0           1           1       1
 1           1           1           0           1           1       1
 1           1           1           0           0           0       0
 0           1           1           0           1           0       1
 1           1           0           0           0           1       0
 1           1           1           0           1           1       1
 0           1           0           0           1           0       1
 1           1           0           0           1           1       1
 1           1           0           0           1           1       1
 0           0           0           0           1           0       0
 1           1           1           0           1           1       1
 0           1           1           0           1           0       1




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Q118r4        Q118r5       Q120r1       Q120r2       Q120r3       Q120r4       Q120r5
          1            0            1            0            0            0            0
          0            0            1            0            0            0            0
          0            1            1            0            0            0            0
          1            0            1            0            0            0            0
          1            0            1            0            0            0            0
          0            0            1            0            0            0            0
          1            0            1            0            0            0            0
          1            0            1            0            0            0            0
          0            0            1            0            0            0            0
          1            0            1            0            0            0            0
          0            0            1            0            0            0            0
          1            0            1            0            0            0            0
          1            0            1            0            0            0            0
          1            0            1            0            0            0            0
          0            0            1            0            0            0            0
          0            0            1            0            0            0            0
          1            0            1            0            0            0            0
          1            0            1            0            0            0            0
          1            0            1            0            0            0            0
          1            0            1            0            0            0            0
          0            0            1            0            0            0            0
          0            0            1            0            0            0            0
          1            0            1            0            0            0            0
          0            0            1            0            0            0            0
          1            0            1            0            0            0            0
          1            0            1            0            0            0            0
          0            0            1            0            0            0            0
          1            0            1            0            0            0            0
          0            1            1            0            0            0            0
          1            0            1            0            0            0            0
          1            0            1            0            0            0            0
          1            0            1            0            0            0            0
          0            0            1            0            0            0            0
          1            0            1            0            0            0            0
          1            0            1            1            1            1            0
          1            0            1            0            0            0            0
          1            0            1            0            0            0            0
          1            0            1            0            0            0            0
          1            0            1            0            0            0            0
          0            0            1            0            0            0            0
          1            0            1            0            0            0            0
          0            0            1            0            0            0            0
          0            0            1            0            0            0            0
          0            0            1            0            0            0            0
          0            0            1            0            0            0            0
          1            0            1            0            0            0            0
          0            0            1            0            0            0            0
          0            0            1            0            0            0            0
          1            0            1            0            0            0            0
          0            0            1            0            0            0            0
          1            0            1            0            0            0            0
          1            0            1            0            0            0            0
          0            0            1            0            0            0            0
          1            0            1            0            0            0            0
          1            0            1            0            0            0            0
          1            0            1            0            0            0            0
          1            0            1            0            0            0            0
          0            0            1            0            0            0            0


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 0           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 0           0           1           0           0           0       0
 1           0           1           0           0           0       0
 0           0           1           0           0           0       0
 1           0           1           0           0           0       0
 0           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 0           1           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 0           0           1           0           0           0       0
 0           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 0           0           1           0           0           0       0
 1           0           1           1           1           1       0
 0           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 0           0           1           0           0           0       0
 0           0           1           0           0           0       0
 0           0           1           0           0           0       0
 0           0           1           0           0           0       0
 0           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 0           0           1           0           0           0       0
 0           0           1           0           0           0       0
 0           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 0           0           1           0           0           0       0
 1           0           1           0           0           0       0
 0           0           1           0           0           0       0
 1           0           1           0           0           0       0
 0           0           1           0           0           0       0
 0           0           1           0           0           0       0
 0           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 0           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 0           0           1           0           0           0       0
 1           0           1           0           0           0       0
 0           0           1           0           0           0       0
 1           0           1           0           0           0       0
 0           0           1           0           0           0       0
 0           0           1           0           0           0       0


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 0           0           1           0           0           0       0
 0           0           1           0           0           0       0
 1           0           1           1           1           1       0
 0           0           1           0           0           0       0
 0           1           1           1           1           1       0
 1           0           1           0           0           0       0
 0           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 0           0           1           0           0           0       0
 1           0           1           0           0           0       0
 0           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 0           0           1           0           0           0       0
 1           0           1           0           0           0       0
 0           0           1           0           0           0       0
 1           0           1           0           0           0       0
 0           0           1           0           0           0       0
 0           0           1           0           0           0       0
 0           0           1           0           0           0       0
 1           0           1           0           0           0       0
 0           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 0           0           1           0           0           0       0
 0           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 0           0           1           0           0           0       0
 1           0           1           0           0           0       0
 0           0           1           0           0           0       0
 0           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 0           0           1           0           0           0       0
 0           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 0           0           1           0           0           0       0
 1           0           1           0           0           0       0


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 0           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 0           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 0           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 0           1           1           0           0           0       0
 1           0           1           0           0           0       0
 0           0           1           0           0           0       0
 1           0           1           0           0           0       0
 0           0           1           0           0           0       0
 1           0           1           0           0           0       0
 0           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0
 1           0           1           0           0           0       0




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Q130r1        Q130r2       Q130r3       Q130r4       Q130r5       Q130r6       Q130r6oe
          1            0            0            0            0            0
          1            0            0            0            0            0
          1            0            0            0            0            0
          0            1            0            0            0            0
          1            0            0            0            0            0
          0            0            1            0            0            0
          1            0            0            0            0            0
          1            1            0            0            0            0
          0            1            0            0            0            0
          1            0            0            0            1            0
          0            0            0            1            0            0
          1            0            0            0            0            0
          1            0            0            0            0            0
          1            0            0            0            1            0
          1            0            0            0            0            0
          1            0            0            0            0            0
          0            0            0            1            0            0
          1            1            0            0            0            0
          1            0            0            0            0            0
          1            0            0            0            0            0
          1            0            0            0            0            0
          0            1            0            0            0            0
          1            0            0            0            0            0
          0            0            1            0            0            0
          1            0            0            0            0            0
          0            0            1            0            0            0
          1            0            0            0            0            0
          1            0            0            0            0            0
          0            1            0            0            0            0
          1            0            0            0            0            0
          1            0            0            0            0            0
          1            0            0            0            0            0
          1            0            0            0            0            0
          1            0            0            0            0            0
          1            1            1            1            1            0
          1            0            0            0            0            0
          0            0            1            0            0            0
          1            0            0            0            0            0
          0            0            0            1            0            0
          1            0            0            0            0            0
          1            0            0            0            0            0
          1            0            0            0            0            0
          0            1            0            0            0            0
          1            0            0            0            0            0
          1            0            0            0            0            0
          0            0            1            0            0            0
          1            0            0            0            0            0
          1            0            0            0            0            0
          1            0            0            0            0            0
          0            0            0            1            0            0
          1            0            0            0            0            0
          0            1            0            0            0            0
          1            0            0            0            0            0
          0            0            1            0            0            0
          1            0            0            0            0            0
          1            0            0            0            0            0
          0            0            0            1            0            0
          1            0            0            0            0            0


         Case 4:17-cv-01026-FJG Document 94-1 Filed 11/02/18 Page 90 of 127
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 0           1           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 0           0           1           0           0           0
 1           0           0           0           0           0
 0           0           0           1           0           0
 0           0           1           0           1           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           1           1           1           1           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 0           0           0           1           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           1           0           1           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 0           0           0           1           0           0
 1           0           0           0           0           0
 0           0           1           0           0           0
 1           0           0           0           0           0
 0           0           0           1           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 0           0           1           0           1           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 0           0           1           0           0           0
 0           0           1           0           0           0
 1           0           0           0           0           0
 0           0           0           1           0           0
 0           0           1           0           0           0
 0           1           0           0           0           0
 1           0           0           0           0           0


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 0           0           1           0           0           0
 0           1           0           0           0           0
 1           1           1           1           1           0
 1           0           0           0           0           0
 1           1           1           1           1           0
 1           0           0           0           0           0
 1           0           0           0           1           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 0           0           1           0           0           0
 1           0           0           0           0           0
 1           1           0           0           0           0
 1           0           0           0           0           0
 0           0           0           1           0           0
 1           0           0           0           0           0
 0           0           1           0           0           0
 1           0           0           0           0           0
 0           0           1           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 0           1           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 0           0           1           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 0           0           0           1           0           0
 1           0           0           0           0           0
 0           0           0           1           0           0
 0           1           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           1           0
 1           0           0           0           0           0
 1           1           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 0           0           0           1           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 0           1           0           0           0           0
 1           0           1           0           1           0


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 1           0           0           0           0           0
 1           0           0           0           0           0
 0           1           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 0           0           0           1           0           0
 1           0           0           0           0           0
 0           1           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 0           1           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 1           0           0           0           0           0
 0           0           1           0           0           0




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Q140      Q140r5oe      Q150r1       Q150r2       Q150r3       Q150r4       Q150r5
        4                        1            1            0            1            0
        3                        1            1            0            1            0
        3                        0            1            0            1            0
        4                        0            1            0            1            0
        1                        0            1            1            1            0
        2                        0            1            1            1            0
        3                        1            1            0            0            0
        2                        0            0            1            1            0
        4                        0            1            0            1            0
        3                        1            1            0            1            0
        4                        0            1            0            1            0
        4                        1            1            0            1            0
        1                        0            0            1            1            0
        4                        0            1            0            1            0
        3                        1            1            0            1            0
        1                        0            1            1            1            0
        3                        0            1            0            1            0
        1                        0            0            1            1            0
        3                        1            1            0            1            0
        1                        0            0            1            1            0
        3                        0            1            1            1            0
        2                        0            1            1            1            0
        4                        0            1            0            1            0
        1                        0            1            1            1            0
        4                        1            1            0            1            0
        1                        0            0            1            1            0
        3                        0            1            0            1            0
        4                        0            1            0            1            0
        3                        0            1            0            1            0
        3                        1            1            0            1            0
        1                        0            1            1            1            0
        4                        1            1            0            1            0
        1                        1            1            1            1            0
        2                        0            1            1            1            0
        5 Facilitator            0            1            0            1            0
        2                        0            1            1            1            0
        3                        1            1            0            0            0
        1                        0            0            1            1            0
        4                        0            1            0            1            0
        3                        1            1            0            1            0
        1                        0            0            1            1            0
        4                        1            1            0            1            0
        4                        0            1            0            1            0
        4                        0            1            0            1            0
        3                        1            1            0            1            0
        3                        1            1            0            1            0
        3                        0            1            0            1            0
        1                        0            1            1            1            0
        4                        1            1            0            1            0
        3                        0            1            0            1            0
        1                        0            1            1            1            0
        4                        0            1            0            1            0
        2                        1            1            1            1            0
        4                        0            1            0            1            0
        2                        0            0            1            1            0
        4                        0            1            0            1            0
        4                        0            1            0            1            0
        1                        0            0            1            1            0


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 3                       0           1           0           1       0
 4                       1           1           0           1       0
 3                       1           1           0           1       0
 1                       0           1           1           1       0
 2                       0           0           1           1       0
 4                       1           1           0           1       0
 4                       0           1           0           1       0
 3                       0           1           0           1       0
 1                       0           1           1           1       0
 2                       0           1           1           1       0
 3                       1           1           0           1       0
 4                       1           1           0           1       0
 4                       0           1           0           1       0
 4                       1           1           0           1       0
 3                       0           1           0           0       0
 3                       0           1           0           1       0
 3                       1           1           0           1       0
 3                       0           1           0           0       0
 1                       0           0           1           1       0
 3                       1           1           0           1       0
 4                       0           1           0           1       0
 4                       0           1           0           1       0
 4                       1           1           0           1       0
 4                       0           1           0           1       0
 3                       1           1           0           1       0
 1                       0           1           1           1       0
 1                       0           1           1           1       0
 2                       0           1           1           1       0
 1                       0           0           1           1       0
 4                       0           1           0           1       0
 3                       1           1           0           1       0
 3                       0           1           0           1       0
 2                       0           1           1           1       0
 3                       0           1           0           1       0
 4                       0           1           0           1       0
 3                       1           1           0           1       0
 4                       1           1           0           1       0
 4                       0           1           0           1       0
 1                       0           0           1           1       0
 4                       0           1           0           1       0
 3                       1           1           0           1       0
 4                       1           1           0           1       0
 1                       0           1           1           1       0
 4                       1           1           0           1       0
 4                       1           1           0           1       0
 3                       1           1           0           1       0
 2                       0           0           1           1       0
 2                       0           0           1           1       0
 3                       1           1           0           1       0
 1                       0           0           1           1       0
 4                       0           1           0           1       0
 1                       0           0           1           1       0
 3                       1           1           0           1       0
 1                       0           1           1           1       0
 4                       1           1           0           1       0
 4                       0           1           0           1       0
 2                       0           1           1           1       0
 3                       0           1           0           1       0
 3                       1           1           0           0       0


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 4                       1           1           0           1       0
 2                       0           1           1           1       0
 4                       0           1           0           1       0
 2                       0           1           1           1       0
 4                       0           1           0           1       0
 4                       1           1           0           1       0
 3                       1           1           0           1       0
 4                       1           1           0           1       0
 1                       0           0           1           1       0
 3                       1           1           0           1       0
 3                       0           1           1           1       0
 1                       0           0           1           1       0
 2                       1           1           1           1       0
 4                       0           1           0           1       0
 3                       0           1           0           1       0
 1                       0           0           1           1       0
 4                       1           1           0           1       0
 4                       0           1           0           1       0
 4                       0           1           0           1       0
 4                       0           1           0           1       0
 3                       1           1           0           1       0
 3                       1           1           0           0       0
 2                       0           1           1           1       0
 4                       0           1           0           1       0
 1                       0           1           1           1       0
 4                       1           1           0           1       0
 1                       0           0           1           1       0
 3                       1           1           0           1       0
 4                       0           1           0           1       0
 3                       0           1           0           1       0
 1                       0           1           1           1       0
 3                       1           1           0           1       0
 3                       1           1           0           1       0
 4                       0           1           0           1       0
 3                       0           1           0           1       0
 1                       0           0           1           1       0
 1                       0           1           1           1       0
 1                       0           1           1           1       0
 1                       0           0           1           1       0
 2                       0           1           1           1       0
 4                       1           1           0           1       0
 3                       1           1           0           1       0
 4                       0           1           0           1       0
 3                       0           1           0           1       0
 3                       0           1           0           1       0
 3                       1           1           0           1       0
 4                       0           1           0           1       0
 1                       0           1           1           1       0
 4                       0           1           0           1       0
 4                       0           1           0           1       0
 3                       0           1           0           1       0
 2                       0           0           1           1       0
 1                       0           1           1           1       0
 3                       0           1           0           0       0
 4                       0           1           0           1       0
 3                       0           1           0           0       0
 4                       0           1           0           1       0
 4                       0           1           0           1       0
 2                       0           1           1           1       0


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 2                       0           1           1           1       0
 4                       0           1           0           1       0
 4                       0           1           0           1       0
 3                       1           1           0           1       0
 4                       1           1           0           1       0
 3                       0           1           0           1       0
 3                       0           1           0           1       0
 4                       0           1           0           1       0
 1                       0           1           1           1       0
 3                       1           1           0           1       0
 4                       0           1           0           1       0
 1                       0           0           1           1       0
 3                       1           1           0           1       0
 1                       0           0           1           1       0
 1                       0           1           1           1       0
 3                       0           1           0           1       0
 3                       1           1           0           1       0
 3                       1           1           0           1       0
 4                       0           1           0           1       0
 3                       0           1           0           1       0
 1                       0           0           1           1       0
 1                       0           1           1           1       0
 1                       0           1           1           1       0
 1                       0           0           1           1       0




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Q150r5oe      Q155          Q155r6oe       Q160       Q160r6oe   Q180       Hidden_Cell
                        4                         6   west              1                 1
                        2                         6   west              1                 1
                        1                         6   west              1                 1
                        5                         6   west              1                 1
                        1                         6   west              1                 1
                        6   african american      6   west              1                 1
                        1                         6   west              1                 1
                        5                         6   west              1                 1
                        6   na                    6   west              1                 1
                        7                         6   West              1                 1
                        1                         6   west              1                 1
                        1                         6   west              1                 1
                        5                         6   west              1                 1
                        2                         6   west              1                 1
                        5                         6   west              1                 1
                        5                         6   West              1                 1
                        2                         6   west              1                 1
                        5                         6   west              1                 1
                        1                         6   west              1                 1
                        1                         6   WEST              1                 1
                        1                         6   west              1                 1
                        1                         6   west              1                 1
                        5                         6   west              1                 1
                        3                         6   West              1                 1
                        5                         6   west              1                 1
                        2                         6   west              1                 1
                        1                         6   west              1                 1
                        6   black                 6   west              1                 1
                        1                         6   west              1                 1
                        2                         6   west              1                 1
                        5                         6   west              1                 1
                        5                         6   west              1                 1
                        1                         6   WEST              1                 1
                        5                         6   west              1                 1
                        5                         6   west              1                 1
                        4                         6   west              1                 1
                        6   rather not            6   west              1                 1
                        5                         6   west              1                 1
                        1                         6   west              1                 1
                        5                         6   west              1                 1
                        1                         6   West              1                 1
                        1                         6   West              1                 1
                        5                         6   west              1                 1
                        2                         6   west              1                 1
                        5                         6   west              1                 1
                        5                         6   West              1                 1
                        2                         6   west              1                 1
                        5                         6   west              1                 1
                        1                         6   west              1                 1
                        5                         6   West              1                 1
                        1                         6   west              1                 1
                        5                         6   west              1                 1
                        1                         6   west              1                 1
                        6   Japanese              6   west              1                 1
                        5                         6   west              1                 1
                        6   white                 6   west              1                 1
                        5                         6   west              1                 1
                        5                         6   west              1                 1


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             5                       6   west                1       1
             5                       6   west                1       1
             5                       6   west                1       1
             5                       6   west                1       1
             1                       6   west                1       1
             5                       6   west                1       1
             5                       6   west                1       1
             1                       6   west                1       1
             2                       6   west                1       1
             5                       6   west                1       1
             5                       6   west                1       1
             5                       6   west                1       1
             5                       6   west                1       1
             1                       6   west                1       1
             1                       6   west                1       1
             5                       6   west                1       1
             3                       6   west                1       1
             5                       6   west                1       1
             4                       6   West                1       1
             4                       6   west                1       1
             5                       6   west                1       1
             2                       6   west                1       1
             1                       6   west                1       1
             2                       6   west                1       1
             2                       6   west                1       1
             5                       6   west                1       1
             1                       6   west                1       1
             5                       6   west                1       1
             5                       6   west                1       1
             1                       6   west                1       1
             5                       6   west                1       1
             6 black/aa              6   west                1       1
             6 AA                    6   west                1       1
             5                       6   west                1       1
             5                       6   west                1       1
             5                       6   west                1       1
             5                       6   west                1       1
             5                       6   west                1       1
             1                       6   west                1       1
             1                       6   west                1       1
             5                       6   west                1       1
             5                       6   west                1       1
             1                       6   west                1       1
             4                       6   west                1       1
             5                       6   west                1       1
             4                       6   west                1       1
             1                       6   west                1       1
             5                       6   west                1       1
             3                       6   west                1       1
             1                       6   west                1       1
             2                       6   west                1       1
             5                       6   west                1       1
             5                       6   west                1       1
             3                       6   west                1       1
             1                       6   west                1       1
             1                       6   west                1       1
             6 indian                6   west                1       1
             1                       6   west                1       1
             1                       6   west                1       1


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              1                       6   west               1        1
              1                       6   west               1        1
              5                       6   west               1        1
              5                       6   west               1        1
              5                       6   west               1        1
              1                       6   west               1        1
              7                       6   west               1        1
              1                       6   west               1        1
              5                       6   west               1        1
              2                       6   west               1        1
              1                       6   west               1        1
              4                       6   west               1        1
              1                       6   west               1        1
              6   Islander            6   West               1        1
              1                       6   West               1        1
              5                       6   West               1        1
              5                       6   west               1        1
              5                       6   west               1        1
              6   Indian              6   west               1        1
              5                       6   west               1        1
              5                       6   west               1        1
              6   not sure            6   West               1        1
              5                       6   west               1        1
              5                       6   west               1        1
              1                       6   west               1        1
              5                       6   west               1        1
              5                       6   west               1        1
              2                       6   west               1        1
              2                       6   west               1        1
              6   don’t really know   6   west               1        1
              5                       6   west               1        1
              5                       6   west               1        1
              5                       6   west               1        1
              5                       6   west               1        1
              5                       6   west               1        1
              5                       6   west               1        1
              5                       6   west               1        1
              2                       6   west               1        1
              2                       6   west               1        1
              4                       6   west               1        1
              5                       6   west               1        1
              5                       6   west               1        1
              5                       6   West               1        1
              5                       6   west               1        1
              1                       6   west               1        1
              5                       6   West               1        1
              5                       6   west               1        1
              1                       6   west               1        1
              6   Polynesian          6   west               1        1
              2                       6   west               1        1
              5                       6   west               1        1
              5                       6   west               1        1
              5                       6   west               1        1
              1                       6   west               1        1
              1                       6   west               1        1
              5                       6   west               1        1
              2                       6   west               1        1
              5                       6   West               1        1
              6   black               6   west               1        1


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              5                      6   west                1        1
              5                      6   west                1        1
              5                      6   west                1        1
              1                      6   west                1        1
              1                      6   west                1        1
              2                      6   west                1        1
              1                      6   west                1        1
              6 black                6   west                1        1
              5                      6   west                1        1
              2                      6   west                1        1
              2                      6   west                1        1
              5                      6   west                1        1
              2                      6   west                1        1
              5                      6   west                1        1
              5                      6   west                1        1
              6 israeli              6   west                1        1
              5                      6   west                1        1
              5                      6   west                1        1
              5                      6   west                1        1
              5                      6   west                1        1
              5                      6   west                1        1
              5                      6   west                1        1
              2                      6   west                1        1
              2                      6   west                1        1




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Hidden         Q250        Q300r1         Q300r2       Q300r3   noanswerQ300_r4
                                                                             Q310
           1           1   gelish                                          0        1
           1           1   gelish         poly gel                         0        2
           1           1                                                   1        2
           1           1   Poly Gel                                        0        3
           1           1   Gelish         OPI                              0        2
           1           1   L'Oreal                                         0        3
           1           1   Gelish                                          0        2
           1           1                                                   1        3
           1           1                                                   1        1
           1           1                                                   1        2
           1           1                                                   1        2
           1           1   poligel                                         0        3
           1           1   Gelish                                          0        2
           1           1                                                   1        2
           1           1   Gelish                                          0        3
           1           1                                                   1        2
           1           1                                                   1        3
           1           1   gelish                                          0        2
           1           1                                                   1        1
           1           1   GELISH                                          0        1
           1           1                                                   1        2
           1           1   polygel                                         0        3
           1           1                                                   1        1
           1           1   Gelish                                          0        2
           1           1   Gelish                                          0        3
           1           1   gelish                                          0        3
           1           1   Nail Product                                    0        3
           1           1                                                   1        3
           1           1   gelyish                                         0        2
           1           1                                                   1        1
           1           1   Gelish                                          0        3
           1           1   nail poly                                       0        2
           1           1   GELFISH                                         0        3
           1           1                                                   1        1
           1           1                                                   1        2
           1           1   Gelish                                          0        3
           1           1   Gelish                                          0        3
           1           1                                                   1        3
           1           1   gelish                                          0        1
           1           1   polygel                                         0        1
           1           1                                                   1        3
           1           1                                                   1        3
           1           1                                                   1        1
           1           1   polyvida?      sallyansen   opi                 0        2
           1           1   Gelish                                          0        2
           1           1                                                   1        1
           1           1                                                   1        3
           1           1   Wet N Wild     Sally's      Loreal              0        3
           1           1   Gelish                                          0        2
           1           1                                                   1        2
           1           1                                                   1        3
           1           1                                                   1        3
           1           1   polygel                                         0        2
           1           1                                                   1        3
           1           1   o.b.i                                           0        1
           1           1                                                   1        1
           1           1   polygel                                         0        3
           1           1                                                   1        2


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  1           1                                              1        3
  1           1                                              1        3
  1           1   natural                                    0        1
  1           1   Polygel                                    0        2
  1           1                                              1        2
  1           1                                              1        1
  1           1                                              1        3
  1           1   gelish                                     0        1
  1           1   Gel Nail                                   0        3
  1           1   poly gel                                   0        3
  1           1   polygel                                    0        2
  1           1   gelish                                     0        2
  1           1   Gelish                                     0        2
  1           1   gelish                                     0        2
  1           1   gelish polygel                             0        1
  1           1   OPI              CND           Essie       0        1
  1           1   sally hansen                               0        3
  1           1                                              1        2
  1           1   Gelish                                     0        3
  1           1   sally hansen                               0        3
  1           1   CND              OPI                       0        3
  1           1   Sally Hansen     China Glaze   Essie       0        3
  1           1                                              1        3
  1           1                                              1        3
  1           1   Sally Hansen                               0        1
  1           1   polygel                                    0        3
  1           1   gelish           polygel                   0        3
  1           1   Gelish                                     0        2
  1           1   gelish                                     0        3
  1           1   gelish                                     0        3
  1           1   Gelish                                     0        3
  1           1   sally hansen     revlon                    0        3
  1           1                                              1        3
  1           1   gelish                                     0        3
  1           1   Sally Hansen     Essie         Orly        0        3
  1           1                                              1        3
  1           1   nail acrylic                               0        2
  1           1   polyeel                                    0        3
  1           1                                              1        1
  1           1                                              1        1
  1           1                                              1        3
  1           1   gel                                        0        3
  1           1   gelish                                     0        1
  1           1   Gellish                                    0        3
  1           1   polygel                                    0        3
  1           1                                              1        3
  1           1   Gelish                                     0        3
  1           1                                              1        2
  1           1                                              1        1
  1           1                                              1        2
  1           1   gelish                                     0        2
  1           1                                              1        3
  1           1   gelish                                     0        1
  1           1                                              1        3
  1           1                                              1        3
  1           1   sally hansen     opi                       0        3
  1           1                                              1        3
  1           1                                              1        3
  1           1   gelish polygel                             0        2


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  1           1   gelish                                     0        2
  1           1   loreal                                     0        2
  1           1                                              1        2
  1           1                                              1        3
  1           1   Gelish         Gelish         Gelish       0        3
  1           1   TruGel         Saviland                    0        1
  1           1                                              1        3
  1           1   OPI                                        0        3
  1           1   CND                                        0        3
  1           1                                              1        1
  1           1                                              1        3
  1           1                                              1        3
  1           1                                              1        3
  1           1   Opi            Revelon        Avon         0        1
  1           1   sally hansen                               0        2
  1           1   orly           nailtiques                  0        2
  1           1   sally hansen                               0        2
  1           1   Gelish                                     0        2
  1           1   Gel                                        0        2
  1           1   gelish                                     0        3
  1           1   Gelish         Loreal Paris                0        3
  1           1                                              1        1
  1           1   polygel                                    0        2
  1           1   gelish                                     0        3
  1           1   Polygel                                    0        2
  1           1   Gelish                                     0        3
  1           1   Gelish                                     0        3
  1           1                                              1        2
  1           1                                              1        2
  1           1                                              1        3
  1           1   OPI            L'Oreal                     0        1
  1           1                                              1        3
  1           1                                              1        3
  1           1                                              1        1
  1           1                                              1        1
  1           1   Polygel        Sally Hansen                0        3
  1           1   OPI                                        0        1
  1           1                                              1        1
  1           1                                              1        2
  1           1   opi                                        0        3
  1           1   gelish                                     0        3
  1           1                                              1        1
  1           1                                              1        1
  1           1                                              1        3
  1           1   opel                                       0        2
  1           1   Sally Hansen   OPI            Essie        0        3
  1           1   gelish                                     0        1
  1           1   Polygel                                    0        2
  1           1   Nailish                                    0        2
  1           1                                              1        2
  1           1   gelish                                     0        2
  1           1   gelyish                                    0        2
  1           1                                              1        1
  1           1                                              1        3
  1           1   gelish                                     0        3
  1           1                                              1        1
  1           1                                              1        3
  1           1                                              1        2
  1           1                                              1        1


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  1           1   gelish                                       0      3
  1           1   sally                                        0      3
  1           1   opi            sally hansen                  0      2
  1           1                                                1      3
  1           1                                                1      3
  1           1                                                1      3
  1           1   Sally Hansen   Essie                         0      3
  1           1   Gelish                                       0      1
  1           1                                                1      3
  1           1   Gelish                                       0      3
  1           1   Gelish                                       0      1
  1           1                                                1      3
  1           1   gelish                                       0      1
  1           1                                                1      3
  1           1   poligel                                      0      2
  1           1                                                1      3
  1           1                                                1      2
  1           1                                                1      3
  1           1                                                1      1
  1           1   CND            Essie          sally hansen   0      2
  1           1                                                1      3
  1           1   PolyGel        OPI                           0      2
  1           1   gelish                                       0      2
  1           1   gel            nail           treatment      0      3




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Q315r1          Q315r2   Q315r3      Q315r4      Q315r5      noanswerQ315_r6
                                                                          Q320r1c1
gelish                                                                  0 becasue it was written on th
                                                                        0
                                                                        0
                                                                        0
                                                                        0
                                                                        0
                                                                        0
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                                                                        1
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                                                                        0
                                                                        0
                                                                        0
                                                                        0
                                                                        0
                                                                        1
Knockoff of Gelish                                                      0 IT IS SIMILAR
                                                                        0
                                                                        0
SALLY HANSEN REVLON                                                     0 THEIR A NAIL COMPANY
                                                                        0
                                                                        0
                                                                        0
                                                                        0
                                                                        0
                                                                        0
                                                                        1
                                                                        0
                                                                        0
                                                                        0
                                                                        1
                                                                        0
                                                                        0
                                                                        0
                                                                        0
gelish                                                                  0 I have used the gelish at hom
                                                                        1
                                                                        0
                                                                        0
                                                                        1
                                                                        0
                                                                        0
                                                                        1
                                                                        0
                                                                        0
                                                                        0
                                                                        0
                                                                        0
                                                                        0
                                                                        0
                                                                        0
sally hansen    o.i.p.                                                  0 looks like someing the brand
                                                                        1
                                                                        0
                                                                        0


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                                                                          0
                                                                          0
Essie by loreal                                                           0   seems like something they w
                                                                          0
                                                                          0
                                                                          1
                                                                          0
sally hansen      OPI                                                     0   has several different nail enh
                                                                          0
                                                                          0
                                                                          0
                                                                          0
                                                                          0
                                                                          0
OPI               Gelish                                                  0   trusted
China Glze                                                                0   The packaging is sleek and m
                                                                          0
                                                                          0
                                                                          0
                                                                          0
                                                                          0
                                                                          0
                                                                          0
                                                                          0
Sally Hansen                                                              0   They make nail products
                                                                          0
                                                                          0
                                                                          0
                                                                          0
                                                                          0
                                                                          0
                                                                          0
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                                                                          1
                                                                          0
                                                                          0
gelish                                                                    0   good product
                                                                          0
                                                                          0
                                                                          0
                                                                          0
                                                                          0
OPI                                                                       0   They are a company affiliate
                                                                          0
                                                                          0
                                                                          0
gelish                                                                    0   I have seen and bought prod
                                                                          0
                                                                          0
                                                                          0
                                                                          0
                                                                          0
                                                                          0


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                                                                        0
                                                                        0
                                                                        0
                                                                        0
                                                                        0
loreal essie                                                            0   style
                                                                        0
                                                                        0
                                                                        0
                                                                        1
                                                                        0
                                                                        0
                                                                        0
OPI                                                                     0   It looks similar to a product
                                                                        0
                                                                        0
                                                                        0
                                                                        0
                                                                        0
                                                                        0
                                                                        0
Sally                                                                   0   Sally he's son makes a lot of
                                                                        0
                                                                        0
                                                                        0
                                                                        0
                                                                        0
                                                                        0
                                                                        0
                                                                        0
Sally Beauty   Sallie Mae   L'Oreal                                     0   Always seems to have a vari
                                                                        0
                                                                        0
Sally Hanson   Essie        OPI                                         0   Over the counter
Sally Hansen                                                            0   Looks like their type of prod
                                                                        0
OPI                                                                     0   looks like what they would m
                                                                        1
                                                                        0
                                                                        0
                                                                        0
Trugel                                                                  0   looks like could be their pac
Sally Hanson   OPI          Essie                                       0   They carry gel polishes
                                                                        0
                                                                        0
                                                                        0
                                                                        1
                                                                        0
                                                                        0
                                                                        0
                                                                        0
                                                                        0
                                                                        1
                                                                        0
                                                                        0
sally hansen                                                            0   it just seems to fit the sally h
                                                                        0
                                                                        0
                                                                        1


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                                                                      0
                                                                      0
                                                                      0
                                                                      0
                                                                      0
                                                                      0
                                                                      0
Saly Henson                                                           0 Has good products
                                                                      0
                                                                      0
                                                                      1
                                                                      0
gelish                                                                0 It was on the packaging
                                                                      0
                                                                      0
                                                                      0
                                                                      0
                                                                      0
                                                                      1
                                                                      0
                                                                      0
                                                                      0
                                                                      0
                                                                      0




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             Q320r2c1        Q320r3c1          Q320r4c1   Q320r5c1   Q330       Q335r1            Q335r2
asue it was written on the box                                              1   gel nail polish
                                                                            2
                                                                            2
                                                                            2
                                                                            1   Nail Polish
                                                                            2
                                                                            2
                                                                            3
                                                                            2
                                                                            2
                                                                            2
                                                                            3
                                                                            2
                                                                            2
                                                                            3
                                                                            3
                                                                            3
                                                                            2
                                                                            1   Other Gelish products
                                                                            1   NAILPOLISH
                                                                            2
                                                                            2
             THEIR A NAIL COMPANY                                           1   Gelish polishes SALLY HANSEN
                                                                            1   Gelish Polish Gelish Polygel
                                                                            2
                                                                            2
                                                                            3
                                                                            3
                                                                            2
                                                                            2
                                                                            3
                                                                            2
                                                                            3
                                                                            1
                                                                            2
                                                                            3
                                                                            1
                                                                            3
ve used the gelish at home gel kit with the le d light                      1   gel top coat      gel foundation
                                                                            3
                                                                            3
                                                                            2
                                                                            2
                                                                            2
                                                                            2
                                                                            2
                                                                            2
                                                                            3
                                                                            2
                                                                            2
                                                                            3
                                                                            2
                                                                            3
                                                                            3
             looks like soming the brad will carrir                         2
                                                                            2
                                                                            2
                                                                            2


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                                                                        3
                                                                        2
ms like something they would do                                         2
                                                                        2
                                                                        2
                                                                        3
                                                                        3
            has a line of nail polish                                   2
                                                                        2
                                                                        2
                                                                        2
                                                                        1   nail polish      dip powder
                                                                        1   Gel Polish
                                                                        2
            good product                                                2
packaging is sleek and modern like this company.                        3
                                                                        3
                                                                        2
                                                                        1   OPI              Loreal
                                                                        2
                                                                        3
                                                                        2
                                                                        3
                                                                        2
y make nail products                                                    2
                                                                        2
                                                                        2
                                                                        2
                                                                        3
                                                                        2
                                                                        1   Gelish nail polish
                                                                        3
                                                                        2
                                                                        1
                                                                        3
                                                                        2
                                                                        2
                                                                        2
                                                                        2
                                                                        2
                                                                        2
                                                                        2
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                                                                        3
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                                                                        2
                                                                        1
                                                                        2
y are a company affiliated with beauty products                         1   Nail Polish      Ulta
                                                                        2
                                                                        2
                                                                        3
ve seen and bought products from this company before                    1   gel polish       sns polish
                                                                        3
                                                                        2
                                                                        2
                                                                        3
                                                                        2
                                                                        2


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                                                                                                     2
                                                                                                     2
                                                                                                     2
                                                                                                     2
                                                                                                     3
                                                                                                     1 Curing lamps
                                                                                                     2
                                                                                                     3
                                                                                                     2
                                                                                                     2
                                                                                                     3
                                                                                                     2
                                                                                                     2
oks similar to a product they have in terms of marketing. color                                      2
                                                                                                     1 sally hansen gel
                                                                                                     2
                                                                                                     3
                                                                                                     2
                                                                                                     2
                                                                                                     3
                                                                                                     2
y he's son makes a lot of nail products                                                              3
                                                                                                     2
                                                                                                     2
                                                                                                     2
                                                                                                     3
                                                                                                     2
                                                                                                     2
                                                                                                     2
                                                                                                     3
               Is a trusted, reputable
                                High-end
                                       brand
                                          beauty
                                             for make-up
                                                  brand that
                                                          andis beauty
                                                                still accessible
                                                                         products.
                                                                                 and at a fair price 3for everyone.
                                                                                                     3
                                                                                                     3
               do it yourself do it yourself                                                         2
ks like their type of product                                                                        3
                                                                                                     2
 s like what they would make                                                                         3
                                                                                                     1
                                                                                                     2
                                                                                                     2
                                                                                                     2
 s like could be their packaging                                                                     3
               They carry gel polishes
                                Also carry gel polishes                                              2
                                                                                                     3
                                                                                                     1
                                                                                                     3
                                                                                                     3
                                                                                                     2
                                                                                                     2
                                                                                                     2
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                                                                                                     2
st seems to fit the sally hansen brand                                                               2
                                                                                                     3
                                                                                                     2
                                                                                                     3


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                                                                       2
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                                                                       2
good products                                                          2
                                                                       3
                                                                       3
                                                                       2
                                                                       3
as on the packaging                                                    2
                                                                       3
                                                                       1 nail treatment   nail polish
                                                                       3
                                                                       2
                                                                       3
                                                                       3
                                                                       2
                                                                       2
                                                                       2
                                                                       2
                                                                       3




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Q335r3           Q335r4     Q335r5      noanswerQ335_r6
                                                     Q340r1c1         Q340r2c1         Q340r3c1
                                                   0 becasue i own it
                                                   0
                                                   0
                                                   0
                                                   0 I recognize the brand Gelish from getting my nails done at a
                                                   0
                                                   0
                                                   0
                                                   0
                                                   0
                                                   0
                                                   0
                                                   0
                                                   0
                                                   0
                                                   0
                                                   0
                                                   0
                                                   0 nail products
                                                   0 IT IS POLISH OR JELLY
                                                   0
                                                   0
                                                   0 THEIR A NAIL COMPANY
                                                                      THEIR A NAIL COMPANY
                                                   0 They have the same
                                                                      Theybrand
                                                                            have the
                                                                                  namesame brand name
                                                   0
                                                   0
                                                   0
                                                   0
                                                   0
                                                   0
                                                   0
                                                   0
                                                   0
                                                   1
                                                   0
                                                   0
                                                   1
                                                   0
gel polish       ph bond    led lamp               0 I've used it before
                                                                      I've used it before
                                                                                       I've used it before
                                                   0
                                                   0
                                                   0
                                                   0
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                                                0
                                                0
                                                0   they make greati nailpolish
                                                                      believe they were the first to make the dip
                                                0   I don't know. I'm just thinking of what's in the salons and it d
                                                0
                                                0
                                                0
                                                0
                                                0
                                                0   Size of companySize of company
                                                0
                                                0
                                                0
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                                                0
                                                0
                                                0
                                                0   The brand name is Gelish for both.
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                                                0
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                                                0
                                                0   This would be a product
                                                                    This company
                                                                            that would
                                                                                  is affiliated
                                                                                         be usedwith
                                                                                                  with
                                                                                                     many
                                                                                                       the nail
                                                                                                           adverti
                                                                                                                bra
                                                0
                                                0
                                                0
curing light                                    0   i know so        i know so        i know so
                                                0
                                                0
                                                0
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                                     0
                                     0
                                     0
                                     0
                                     0
                                     0 they make that
                                     0
                                     0
                                     0
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                                     0
                                     0
                                     0
                                     0
                                     0 the idea behind it
                                     0
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nail care kit                                    0 The image   The image   The image
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                                                 0
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            Case 4:17-cv-01026-FJG Document 94-1 Filed 11/02/18 Page 117 of 127
            Q340r4c1         Q340r5c1         Q350     Q360r1           Q360r2           Q360r3   Q360r4
                                                     2
                                                     2
                                                     2
                                                     2
tting my nails done at a salon                       3
                                                     2
                                                     2
                                                     3
                                                     2
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                                                     1 I have seen foreign ripoffs of Gelish
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brand name                                           2
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                                                     1 Other gelish polishes
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            I've used it before
                             I've used it before     2
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                                                                1 Trugel
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 he first to make the dip powder polish                         2
at's in the salons and it doesn't look like this. This product seems
                                                                2     to be for home use.
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                                                                1 sally hansen
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                                                                1 IBD Just Gel is closest
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                                                                1 Madam Glam PolyGel
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iated with many nail brands                                     2
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                          1   Gelish on amazon.com
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                          1   Get Gelish Polygel on ebay and groupon
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                          1   Chinese copies of Gelish polish
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                          1   Dental products
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                          1   Polygel nail kits
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                          1   Gelish knockoffs are all over the place
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                          1   Saviland makes the same
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